  Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 1 of 83




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

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IN RE:                                                         :    MDL NO. 2047
                                                               :    SECTION: L
CHINESE MANUFACTURED DRYWALL                                   :
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :    JUDGE FALLON
                                                               :
                                                               :    MAG. JUDGE WILKINSON

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THIS DOCUMENT RELATES TO:                                       :
ALL CASES AND                                                   :
                                                                :
Payton, et al. v. Knauf Gips KG, et al.                         :
Case No. 2:09-cv-07628 (E.D. La.)                               :
                                                                :
Gross, et al. v. Knauf Gips KG, et al.                          :
Case No. 2:09-cv-06690 (E.D. La.)                               :
                                                                :
Rogers, et al. v. Knauf Gips KG, et al.                         :
Case No. 2:10-cv-00362 (E.D. La.)                               :
                                                                :
Abreu, et al. v. Gebrueder Knauf                                :
Verwaltungsgesellschaft KG, et al.                              :
Case No. 2:11-cv-00252 (E.D. La.)                               :
                                                                :
Block, et al. v. Gebrueder Knauf                                :
Verwaltungsgesellschaft KG, et al.                              :
Case No. 2:11-cv-2349 (E.D. La.)                                :
                                                                :
Arndt, et al. v. Gebrueder Knauf                                :
Verwaltungsgesellschaft KG, et al.                              :
Case No. 2:11-cv-2349 (E.D. La.)                                :
                                                                :
Cassidy, et al. v. Gebrueder Knauf                              :
Verwaltungsgesellschaft KG, et al.                              :
Case No. 2:11-cv-3023 (E.D. La.)                                :
                                                                :
Vickers, et al. v. Knauf Gips KG, et al.                        :
Case No. 2:09-cv-04117                                          :
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              THIRD AMENDED SETTLEMENT AGREEMENT
   REGARDING CLAIMS AGAINST THE KNAUF DEFENDANTS IN MDL NO. 2047
     Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 2 of 83




                                                 TABLE OF CONTENTS

                                                                                                                                      Page

1.       Definitions ...................................................................................................................... 1
2.       Effective Date ............................................................................................................... 11
3.       Settlement of All Claims Against The Knauf Defendants .............................................. 12
4.       Settlement Funds ........................................................................................................... 12
         4.2.       Establishment and Administration of the Remediation Fund .............................. 12
         4.3.       Remediation Fund Benefits ................................................................................ 14
                    4.3.1. Option 1. Program Contractor Remediation Option/Property Not
                           Yet Remediated ...................................................................................... 14
                               4.3.1.1.        Lump Sum Payment .............................................................. 14
                               4.3.1.2.        Delay Period Payment ........................................................... 15
                    4.3.2. Option 2. Self-Remediation Option ....................................................... 16
                    4.3.3. Option 3. Cash-Out Option .................................................................... 18
                    4.3.4. Mixed Property Owners ................................ ................................ ......... 18
                    4.3.5. Foreclosed Properties ............................................................................. 20
                               4.3.6.1.        General Terms ...................................................................... 20
                               4.3.6.2.        Options available to the Multiple Unit Property
                                               Governing Body where, pursuant to Section 4.3.6.1.2, it
                                               is feasible treat each unit as a single property ........................ 24
                               4.3.6.3.        Options Available to the Multiple Unit Property
                                               Governing Body where, pursuant to Section 4.3.6.1.2, it
                                               is not feasible to treat each unit as a single property .............. 25
                    4.3.7. Already Remediated Properties .............................................................. 26
                    4.3.8. Timing for Election of Options ............................................................... 26
         4.4.       Remediation Fund Qualifying Procedures .......................................................... 27
         4.5.       Cost Control and Dispute Resolution Mechanisms for Program Contractor
                    Remediation Option ........................................................................................... 27
         4.6.       Establishment and Administration of the Other Loss Fund ................................. 32
         4.7.       Other Loss Fund Benefits................................................................................... 33
                               4.7.1.1.        Pre-Remediation Alternative Living Expenses: ..................... 33
                               4.7.1.2.        Lost Use, Sales and Rentals .................................................. 34
                               4.7.1.3.        Foreclosures.......................................................................... 37
                               4.7.1.4.        Sales In Mitigation ................................................................ 39


                                                                     i
     Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 3 of 83



                                                                                                                                      Page

                               4.7.1.5.        Tenant Losses ....................................................................... 41
                    4.7.2. Bodily Injury .......................................................................................... 42
                    4.7.3. Other Loss Exclusions ............................................................................ 44
                    4.7.4. Other Loss Fund Claims Procedures ....................................................... 44
                    4.7.5. MMSEA Compliance ............................................................................. 46
         4.8.       Allocation of Amounts from Banner, InEx and L&W Class Settlements Or
                    Any Other Settlements ....................................................................................... 47
         4.9.       Benefits for Class Members in Properties with Lower-Case KPT Chinese
                    Drywall. ............................................................................................................. 49
5.       Releases ........................................................................................................................ 53
         5.1.       Released Claims ................................................................................................ 53
         5.2.       Class Release ................................................................................................. 5753
6.       Certification of Federal Rule of Civil Procedure 23(b)(3) Settlement Class and
         Related Motions ........................................................................................................ 5853
7.       Notice to Class Members ................................ ................................ ........................... 5953
8.       Opt-Out ..................................................................................................................... 6053
         8.1.       Opt-Out Period .............................................................................................. 6053
         8.2.       Opt-Out Process............................................................................................. 6053
         8.3.       Rights With Respect to Opt Outs ................................................................... 6053
9.       Objections ................................................................................................................. 6153
10.      Fairness Hearing........................................................................................................ 6253
11.      Dismissals ................................................................................................................. 6253
12.      Bar Order .................................................................................................................. 6353
13.      Termination of This Settlement ................................................................................. 6353
14.      Attorneys’ Fees ......................................................................................................... 6453
15.      Court to Retain Jurisdiction to Implement and Enforce Settlement Agreement .......... 6653
16.      Representations ......................................................................................................... 6653
17.      Security ..................................................................................................................... 6953
18.      Miscellaneous ........................................................................................................... 7353
19.      Federal Rule of Evidence 408 .................................................................................... 7553




                                                                    ii
     Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 4 of 83




                SETTLEMENT AGREEMENT REGARDING CLAIMS AGAINST
                      THE KNAUF DEFENDANTS IN MDL NO. 2047
                             (Subject to Court Approval)

       This Settlement Agreement is entered into by and between the Plaintiffs’ Steering
Committee in In re: Chinese Manufactured Drywall Products Liability Litigation, MDL No.
2047, and Knauf Plasterboard (Tianjin) Co., Ltd. (“KPT”), Knauf Plasterboard (Wuhu) Co., Ltd.
(“Wuhu”), Guangdong Knauf New Building Material Products Co., Ltd. (“Dongguan”), Knauf
Gips KG (“Knauf Gips”), Gebr. Knauf Verwaltungsgesellschaft KG, Knauf International GmbH,
Knauf Insulation GmbH (“KI”), Knauf UK GmbH, Knauf AMF GmbH & Co. KG, Knauf do
Brasil Ltda. and PT Knauf Gypsum Indonesia (collectively, the “Knauf Defendants”) as of
December 20, 2011.

      WHEREAS, the Plaintiffs’ Steering Committee has made a demand on the Knauf
Defendants to settle Chinese Drywall claims against the Knauf Defendants;

        WHEREAS, the Knauf Defendants have been named as defendants in MDL No. 2047
and in state court litigation and are alleged to be liable for KPT Chinese Drywall that was
installed in Affected Properties;

       WHEREAS, the Knauf Defendants have denied liability for the sale of such KPT
Chinese Drywall; and

         WHEREAS, the Parties wish to avoid the effort, expense and risk of continued litigation,

       NOW, THEREFORE, in consideration of the mutual covenants contained herein and
intending to be legally bound, the Parties agree as follows:

1.       Definitions

         1.1.    Parties. “Parties” shall mean the Knauf Defendants and the Class:

                 1.1.1. Knauf Defendants. “Knauf Defendants” shall mean all Knauf entities
                        that are signatories to this Agreement.

                 1.1.2. Class; Settlement Class; Class Members. “Class,” also referred to as
                        “Settlement Class” or “Class Members,” shall mean all members of one of
                        the three Subclasses in Sections 1.1.2.1, 1.1.2.2 and 1.1.2.3 below who, as
                        of December 9, 2011, filed a lawsuit in the Litigation as a named plaintiff
                        (i.e., not an absent class member) asserting claims arising from, or
                        otherwise related to, KPT Chinese Drywall, whether or not the Knauf
                        Defendants are named parties to the lawsuit. The following persons or
                        entities are members of the class only for the purpose of obtaining benefits
                        under the Other Loss Fund, but not for the purpose of obtaining benefits
                        under the Remediation Fund as those Class Members’ Remediation
                        Claims have been or will be resolved outside this Settlement: (i) any
                        person or entity which has settled claims against the Knauf Defendants
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 5 of 83




               under the Settlement Agreement for the Demonstration Remediation of
               Homes with KPT Drywall (“Pilot Program”) by executing both the Work
               Authorization and Release as defined in the Pilot Program, whose
               Affected Property has been or will be remediated under the Pilot Program;
               (ii) any person or entity whose Affected Property has been remediated
               under a Major Builder Settlement Agreement; and (iii) any person or
               entity whose Affected Property has been remediated under a settlement
               with a Builder or Supplier (including claims assigned by Class Members
               that were later settled by the assignee). The Class also shall include
               Multiple Unit Property Governing Bodies to the extent that any unit(s) of a
               Multiple Unit Property is the subject of a filed lawsuit in the Litigation.
               The Class shall not include claims relating to Chinese Drywall
               manufactured by Knauf entities other than KPT. There shall be three
               subclasses:

               1.1.2.1.   The Residential Owner Subclass: All members of the Class
                          who are owners of and reside or have resided in Affected
                          Property (“Residential Owners”). The Residential Owner
                          Subclass shall not include Owners, other than Mortgagees, who
                          purchased Affected Properties with knowledge that the
                          properties contained KPT Chinese Drywall and/or Non-KPT
                          Chinese Drywall. The Residential Owner Subclass also shall
                          not include Owners who sold or otherwise disposed of Affected
                          Properties except for former owners who lost Affected
                          Properties due to foreclosure or sold Affected Properties to
                          mitigate losses.

               1.1.2.2.   The Commercial Owner Subclass: All members of the Class
                          who are owners of Affected Property for the purpose of selling
                          or renting the Affected Property or using the Affected Property
                          to conduct a business and who do not reside in the Affected
                          Property (“Commercial Owners”). The Commercial Owner
                          Subclass shall not include Owners, other than Mortgagees, who
                          purchased Affected Properties with knowledge that the
                          properties contained KPT Chinese Drywall and/or Non-KPT
                          Chinese Drywall. The Commercial Owner Subclass also shall
                          not include Owners who sold or otherwise disposed of Affected
                          Properties except for former owners who lost Affected
                          Properties due to foreclosure or sold Affected Properties to
                          mitigate losses. Members of the Residential and Commercial
                          Owner Subclasses also are referred to as “Owners”.

               1.1.2.3.   The Residential Owner Subclass and the Commercial Owner
                          Subclass shall be referred to collectively as the “Owner
                          Subclasses.”




                                        2
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 6 of 83




                  1.1.2.4.   The Tenant Subclass: All members of the Class who rent
                             Affected Property. Members of the Tenant Subclass also are
                             referred to as “Tenants”. Non-owner residents will be treated as
                             Tenants even if they do not pay rent.

    1.2.   Administrative Expenses. “Administrative Expenses” shall mean expenses
           associated with administering the Remediation Fund and the Other Loss Fund,
           and shall include, but not be limited to, the expenses of the Settlement
           Administrator, Special Masters, escrow agents, accountants, pro se attorneys and
           Ombudsmen.

    1.3.   Affected Property. “Affected Property” shall mean any real or personal
           property, residential or commercial, containing KPT Chinese Drywall.

    1.4.   Already Remediated Properties Protocol. “Already Remediated Properties
           Protocol” shall mean the protocol attached as Exhibit A for resolving
           Remediation Claims of Owners who have self-remediated Affected Properties or
           have entered into contracts to self-remediate Affected Properties prior to the
           Execution Date.

    1.5.   Approved Claims. “Approved Claims” shall mean claims submitted by Class
           Members that have been approved for reimbursement from the Remediation Fund
           and/or the Other Loss Fund.

    1.6.   Banner. “Banner” shall mean Banner Supply Co., Banner Supply Co. -
           Pompano, LLC, Banner Supply Co. - Port St. Lucie, LLC, Banner Supply Co. -
           Fort Myers, LLC, and Banner Supply Co. - Tampa, LLC and all of their past,
           present and future owners, partners, shareholders, officers, directors, agents,
           attorneys, employees, parents, associates, subsidiaries, divisions, affiliates,
           insurers, and all predecessors and successors, assigns, or legal representatives.

    1.7.   Banner Class Settlement. “Banner Class Settlement” shall mean the class action
           settlement with Banner preliminarily approved by the Court on August 11, 2011
           and subsequent amendments thereto preliminarily approved by the Court on
           August 11, 2011.

    1.8.   Builder. “Builder” shall mean any entity or person engaged principally in the
           business of construction of properties and to whom a Developer sells or has sold
           one or more lots on which the property construction will take place. A Builder
           shall not include a Developer engaged solely in selling the lot on which such
           property is constructed, who does not have the authority to manage or control the
           actual construction. Other entities or persons excluded from the term Builder
           include, but are not limited to, subcontractors, material suppliers, installers, and
           design professionals.

    1.9.   Court. “Court” shall mean The Honorable Eldon E. Fallon, who presides over In
           re Chinese Manufactured Drywall Products Liability Litigation, MDL No. 2047,
           in the Eastern District of Louisiana.


                                            3
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 7 of 83




    1.10. Developers. “Developers” shall mean the developer of any properties with KPT
          Chinese Drywall.

    1.11. Environmental Certificate.           “Environmental Certificate” shall mean a
          certification substantially in the form of Exhibit B from GFA International (1215
          Wallace Drive, Del Ray Beach, Florida 33444) or another environmental
          inspector, provided that both the Knauf Defendants and Settlement Class Counsel
          consent to such other environmental inspector.

    1.12. Excluded Releasee. “Excluded Releasee” shall mean any person or entity
          eligible to be an Other Releasee that does not participate in the Insurer Class
          Settlement or otherwise settle with the PSC and the Knauf Defendants. An
          Excluded Releasee can also be an Other Releasee pursuant to Section 1.50.1.

    1.13. Execution Date. “Execution Date” shall mean December 20, 2011.

    1.14. Final Cost Estimate. “Final Cost Estimate” shall mean the final cost to
          remediate the KPT Property prepared by the Lead Contractor or Other Approved
          Contractor and agreed to by the Knauf Defendants.

    1.15. Foreclosed Property. “Foreclosed Property” shall mean an Affected Property
          that is owned by a Mortgagee.

    1.16. General Contractor. “General Contractor” shall mean any general contractor
          which (i) took part in the building, remodeling or restoration of any property with
          KPT Chinese Drywall, and (ii) did so working under contract with, and/or under
          the direction of a Builder, Owner or his or her insurer, or Developer.

    1.17. Held Costs. “Held Costs” shall have the meaning set forth by the Court in
          Pretrial Order No. 9.

    1.18. Importers. “Importers” shall mean any importer, which imported, marketed,
          distributed or supplied KPT Chinese Drywall.

    1.19. Individual Participating Class Members’ Costs. “Individual Participating
          Class Members’ Costs” shall mean those costs reasonably incurred by a
          Participating Class Member in connection with the prosecution of a claim relating
          to an Affected Property as limited in Section 14.1.

    1.20. InEx. “InEx” shall mean Interior Exterior Building Supply, L.P. and all of its
          past, present and future owners, partners, shareholders, officers, directors, agents,
          attorneys, employees, parents, associates, subsidiaries, divisions, affiliates,
          insurers, and all predecessors and successors, assigns, or legal representatives.

    1.21. InEx Class Settlement. “InEx Class Settlement” shall mean the class action
          settlement with InEx preliminarily approved by the Court on May 13, 2011 and
          subsequent amendments thereto preliminarily approved by the Court on February



                                             4
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 8 of 83




           23, 2012, including any supplemental recovery against InEx’s excess insurer, The
           North River Insurance Company.

    1.22. Inspection Protocol. “Inspection Protocol” shall mean the protocol for
          inspecting properties for KPT Chinese Drywall attached as Exhibit C.

    1.23. Installer. “Installer” shall mean any person or entity involved in the installation,
          hanging, taping, and/or floating of KPT Chinese Drywall in any property.

    1.24. Insurer Class Settlement. “Insurer Class Settlement” shall mean the class action
          settlement with Builders, Suppliers, Installers and Participating Insurers
          preliminarily approved by the Court on May 31, 2012 and subsequent
          amendments thereto preliminarily approved by the Court on August 22, 2012.

    1.25. Knauf Investment Assets. “Knauf Investment Assets” shall mean the deposited
          funds and/or asset(s) described in Section 17.1.3.

    1.26. KPT Chinese Drywall. “KPT Chinese Drywall” shall mean any and all drywall
          products manufactured, sold, marketed, distributed, and/or supplied by KPT and
          which are alleged to be defective. “KPT Chinese Drywall” shall not include
          drywall products, manufactured, sold, marketed, distributed, and /or supplied by
          any Knauf Defendant other than KPT.

           1.26.1. Lower-Case KPT Chinese Drywall.              “Lower-Case KPT Chinese
                   Drywall” shall mean KPT Chinese Drywall bearing the lower-case
                   “TianJin, China” markings. Class Members with only Lower-Case KPT
                   Chinese Drywall in their properties shall be eligible for benefits under this
                   Settlement as set forth in Section 4.9.

    1.27. KPT Drywall Percentage. “KPT Drywall Percentage” shall mean the amount of
          KPT Chinese Drywall in the Affected Property divided by the total amount of
          KPT Chinese Drywall and Non-KPT Chinese Drywall in the Affected Property
          rounded to the next highest 10% increment, as determined according to paragraph
          II.C of the Inspection Protocol. For example, if the amount of KPT Chinese
          Drywall in the Affected Property divided by the total amount of KPT Chinese
          Drywall and Non-KPT Chinese Drywall equals 82%, the KPT Drywall
          Percentage shall be 90%. However, if the amount equals 90%, the KPT Drywall
          Percentage shall not be adjusted upward. Applying this definition, if an
          inspection of an Affected Property reveals that there are 4 boards consisting of
          KPT Chinese Drywall, 2 boards consisting of Non-KPT Chinese Drywall and 4
          non-reactive boards in the Affected Property, then the KPT Drywall Percentage
          will be 70% (four KPT Chinese Drywall boards divided by six total KPT Chinese
          Drywall boards and Non-KPT Chinese Drywall boards, rounded up to the next
          highest 10% increment).

    1.28. KPT Property. “KPT Property” shall mean any Affected Property in which the
          KPT Drywall Percentage exceeds 90%.



                                             5
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 9 of 83




    1.29. KPT Property Owners. “KPT Property Owners” shall mean Owners of KPT
          Property.

    1.30. L&W. “L&W” shall mean L&W Supply Co. and all of its past, present and
          future owners, partners, shareholders, officers, directors, agents, attorneys,
          employees, parents, associates, subsidiaries, divisions, affiliates, insurers, and all
          predecessors and successors, assigns, or legal representatives.

    1.31. L&W Class Settlement. “L&W Class Settlement” shall mean the class action
          settlement with L&W preliminarily approved by the Court on April 26, 2012.

    1.32. Lead Contractor. “Lead Contractor” shall mean Moss & Associates, LLC, 2101
          N. Andrews Avenue, Suite 300, Ft. Lauderdale, FL 33311. The Knauf
          Defendants and Settlement Class Counsel may by agreement change the Lead
          Contractor.

    1.33. Lienholder. “Lienholder” shall mean any person or entity which holds a lien on
          Affected Property with KPT Chinese Drywall.

    1.34. Litigation. “Litigation” shall mean all Class Action Omnibus Complaints
          (“Omni Complaints”) filed in MDL No. 2047, and all Related Actions.

    1.35. Major Builder Settlement Agreement. “Major Builder Settlement Agreement”
          shall mean any one of the agreements among the Knauf Defendants, the PSC and
          certain Builders listed in Exhibit D filed under seal.

    1.36. Mixed Property. “Mixed Property” shall mean Affected Properties in which the
          KPT Drywall Percentage is less than or equal to 90%.

    1.37. Mixed Property Owner. “Mixed Property Owner” shall mean an Owner of a
          Mixed Property.

    1.38. Mortgagee. “Mortgagee” shall mean any person or entity which made a loan
          secured by Affected Property with KPT Chinese Drywall.

    1.39. Mortgaged Property. “Mortgaged Property” shall mean the real property and
          buildings of KI, as agreed upon by the Parties, pledged to secure the obligations
          of the Knauf Defendants to make payments under the Settlement pursuant to the
          Mortgages.

    1.40. Mortgages. “Mortgages” shall mean mortgage agreements in respect of the
          Mortgaged Property.

    1.41. Multiple Unit Property. “Multiple Unit Property” shall mean an Affected
          Property that contains more than one living unit.

    1.42. Multiple Unit Property Governing Body. “Multiple Unit Property Governing
          Body” shall mean the person(s) or entity(ies) having the legal authority or control


                                             6
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 10 of 83




           to bind a Multiple Unit Property, including but not limited to, a condominium
           association.

    1.43. Non-KPT Chinese Drywall. “Non-KPT Chinese Drywall” shall mean any and
          all reactive drywall products manufactured, sold, marketed, distributed, and/or
          supplied by a Chinese manufacturer other than KPT, including but not limited to,
          Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd.; Taian
          Taishan Plasterboard, Ltd.; Pingyi Zhongxin Paper-Faced Plasterboard Co., Ltd.
          f/k/a Shandong Chenxiang Building Materials Co., Ltd.; Crescent City Gypsum,
          Inc.; Beijing New Building Materials Public Ltd. Co., and China National
          Building Material Co., Ltd., and China National Building Material Group
          Corporation. Counterfeit drywall products that purport to be manufactured by
          KPT, but that are in fact manufactured by an entity other than KPT shall not be
          considered “KPT Chinese Drywall” and shall be considered “Non-KPT Chinese
          Drywall” only if the drywall is reactive. “Non-KPT Chinese Drywall” shall not
          include drywall products manufactured, sold, marketed, distributed, and/or
          supplied by Wuhu or Dongguan, and shall not include drywall bearing the lower-
          case “TianJin, China” markings.

    1.44. Ombudsman. “Ombudsman” shall mean a construction expert available to
          advise Class Members who select the Program Contractor Option described in
          Section 4.3.1. The Ombudsmen shall be selected according to the procedures set
          forth in Section 4.5.1.7.2.

    1.45. Order and Judgment. “Order and Judgment” shall mean an order and judgment
          entered by the Court that:

           (i)     Certifies the Settlement Class pursuant to Fed. R. Civ. P. 23(b)(3);

           (ii)    Finds that the Settlement is fair, reasonable, and adequate, was entered
                   into in good faith and without collusion, and should be approved; and
                   approves the Settlement;

           (iii)   Approves the Class Release provided in Section 5.2 and orders that, as of
                   the Effective Date, the Released Claims as defined in Section 5.1 will be
                   released as to the Knauf Defendants and Other Releasees;

           (iv)    Enjoins and forever bars any and all Participating Class Members from
                   commencing and/or maintaining any action, legal or otherwise, against the
                   Knauf Defendants arising out of, or otherwise relating to, KPT Chinese
                   Drywall;

           (v)     Finds that the indemnity, defense and judgment reduction provisions in
                   Sections 5.2.4, 5.2.5 and 5.2.6 are valid, binding, and enforceable; and
                   therefore, bars the assertion by any entity or person against the Knauf
                   Defendants of any contribution, indemnification, subrogation, or other
                   claims arising out of the Participating Class Members’ claims concerning



                                             7
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 11 of 83




                   (i) the KPT Chinese Drywall claims against the Knauf Defendants and
                   Other Releasees or (ii) this Settlement;

           (vi)    Enjoins non-Class Members and Class Members who opt out under
                   Section 8 from seeking or obtaining any recovery against or from, or
                   seeking to execute or otherwise exercise remedies against the Knauf
                   Investment Assets and any proceeds thereof, which asset(s) have been
                   procured by the Knauf Defendants in furtherance of the Settlement for the
                   benefit of the Settlement Class.

           (vii)   Finds that, pursuant to Fed. R. Civ. P. 54(b), there is no just reason for
                   delay of entry of final judgment with respect to the foregoing.

    1.46. Other Approved Contractor. “Other Approved Contractor” shall mean a
          contractor other than the Lead Contractor approved by the Knauf Defendants and
          Settlement Class Counsel to perform the remediation work under the Program
          Contractor Remediation Option set forth in Section 4.3.1.

    1.47. Other Covered Expenses. “Other Covered Expenses” shall mean reimbursement
          for all alternative living expenses, personal property damage, maintenance of the
          KPT Property during remediation, including, but not limited to, payment of all
          utility bills, insurance, property taxes and maintenance of landscaping, and
          moving and storage expenses, incurred as a result of the remediation of the KPT
          Property, pursuant to Section 4.3.1.1 through 4.3.1.3.

    1.48. Other Loss. “Other Loss” shall have the meaning set forth in Section 4.7.1
          below.

    1.49. Other Loss Fund. “Other Loss Fund” shall mean the Fund described in Section
          4.6 below.

    1.50. Other Releasee. “Other Releasee” shall mean any person or entity that supplied,
          installed or facilitated and/or assisted in such supply or installation of KPT
          Chinese Drywall, including but not limited to, Banner, InEx, L&W, Importers,
          Suppliers, Builders, Developers, General Contractors, Installers, Realtors,
          Subcontractors, and Subsuppliers which purchased or received KPT Chinese
          Drywall from a Supplier, used Chinese Drywall sold, marketed, distributed and/or
          supplied by a Supplier in the construction of Affected Property, or sold or
          marketed Affected Property containing KPT Chinese Drywall, and all of their
          past, present and future owners, partners, shareholders, officers, directors, agents,
          attorneys, employees, parents, associates, subsidiaries, divisions, affiliates,
          insurers and all predecessors and successors, assigns, or legal representatives,
          except for Excluded Releasees.

           1.50.1. A person or entity can be both an Other Releasee and an Excluded
                   Releasee if some but not all of his (its) insurers participate in the Insurer
                   Class Settlement or other settlement with the PSC and the Knauf
                   Defendants. In that case, the person or entity will be treated as an Other


                                             8
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 12 of 83




                   Releasee with respect to uninsured claims and claims insured by
                   participating insurers and as an Excluded Releasee with respect to claims
                   insured by the non-participating insurers.

    1.51. Participating Class Member. “Participating Class Member” shall mean all
          Class Members who do not opt-out as provided in Sections 8.1 and 8.2.

    1.52. Plaintiffs’ Steering Committee; PSC. “Plaintiffs’ Steering Committee” or
          “PSC” shall mean the group of plaintiffs’ counsel appointed by the Honorable
          Eldon E. Fallon to manage and administer the affairs of all plaintiffs in MDL No.
          2047 and to assist the Court in administering its docket. The PSC, as currently
          constituted, is described by Pretrial Order No. 8A (Rec. Doc. No. 6960).

    1.53. Pledged Assets. “Pledged Assets” shall mean the assets of KI, as agreed upon by
          the Parties, pledged to secure the obligations of the Knauf Defendants to make
          payments under the Settlement pursuant to the Security Agreement.

    1.54. Preliminary Approval Order. “Preliminary Approval Order” shall mean an
          order of this Court preliminarily approving the Settlement.

    1.55. Proof of Claim Form. “Proof of Claim Form” shall mean the form by which
          Class Members submit claims for benefits in a format to be mutually agreed upon
          by the Parties and approved by the Court.

    1.56. Realtors. “Realtors” shall mean any realtors involved in any real estate
          transaction with respect to any property with KPT Chinese Drywall.

    1.57. Related Actions. “Related Actions” shall mean any and all state court, federal
          court, foreign court, international tribunal or arbitration claims arising out of, or
          related to KPT Chinese Drywall, regardless of whether the Knauf Defendants are
          parties, including, but not limited to, the matters identified in Exhibit E hereto.

    1.58. Related Claims. “Related Claims” shall mean unlitigated claims of a Class
          Member against the Knauf Defendants arising out of, or related to KPT Chinese
          Drywall.

    1.59. Released Claims. “Released Claims” shall have the meaning set forth in Section
          5.1.

    1.60. Released Party. “Released Party” or “Released Parties” shall mean the Knauf
          Defendants and the Other Releasees and their respective parents, subsidiaries,
          affiliates, divisions, predecessors, successors, heirs, legal representatives, legatees
          and/or assigns, together with past, present and future officers, directors, board
          members, shareholders, members, presidents, managers, partners, employees,
          distributors, retail dealers, agents, servants, representatives, consultants, in-house
          or outside attorneys, insurers, and reinsurers of each of the foregoing.




                                             9
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 13 of 83




    1.61. Remediation Claims. “Remediation Claims” shall mean claims associated with
          the KPT Property Owner’s or Mixed Property Owner’s remediation of the
          Affected Property prior to the Execution Date, including the reasonable costs of
          remediation and the Other Covered Expenses.

    1.62. Remediation Fund.       “Remediation Fund” shall mean the Fund described in
          Section 4.2 below.

    1.63. Remediation Protocol. “Remediation Protocol” shall mean the protocol for
          remediating Affected Properties attached as Exhibit F.

    1.64. Replacement Security. “Replacement Security” shall mean the letter of credit,
          bank guarantee and/or collateral assets described in Section 17.1.4.

    1.65. Security Agreement. “Security Agreement” shall mean the security agreement
          to be agreed upon by the Parties and approved by the Court in a form that will be
          attached hereto as Exhibit G. A mutually satisfactory Security Agreement is a
          condition precedent to the performance of the Parties’ obligations under this
          Agreement.

    1.66. Settlement. “Settlement” shall mean this Settlement Agreement and the
          settlement for which it provides resolving all claims by Participating Class
          Members against the Knauf Defendants, as well as all exhibits attached hereto or
          incorporated herein by reference.

    1.67. Settlement Administrator. “Settlement Administrator” shall mean the person or
          entity appointed by the Court to administer the Settlement. The parties shall
          jointly recommend that Lynn C. Greer, Esq. of BrownGreer PLC (115 S. 15th
          Street, Suite 400, Richmond, VA 23219-4209, Tel: (804) 521-7202, Fax: (804)
          521-7299, e-mail:       lgreer@browngreer.com) be appointed Settlement
          Administrator.

    1.68. Settlement Class Counsel. “Settlement Class Counsel” shall mean MDL No.
          2047 Plaintiffs’ Liaison Counsel and MDL No. 2047 Plaintiffs’ Lead Counsel
          Russ Herman and Arnold Levin.

    1.69. Settlement Funds. “Settlement Funds” shall mean the Remediation Fund and the
          Other Loss Fund.

    1.70. Settling Defendants. “Settling Defendants” shall mean the Knauf Defendants.

    1.71. Shared Costs. “Shared Costs” shall have the meaning set forth by the Court in
          Pretrial Order No. 9.

    1.72. Special Master. “Special Master” shall mean the person or entity appointed by
          the Court responsible for reviewing information submitted by Participating Class
          Members and making determinations concerning individual Participating Class
          Members’ benefits under the Settlement Funds. The parties shall jointly


                                          10
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 14 of 83




            recommend that John W. Perry, Jr. of Perry Atkinson Balhoff Mengis & Burns,
            LLC be appointed Special Master. The parties shall jointly recommend that
            Patrick A. Juneau of the Juneau Firm be appointed as an additional Special Master
            in the event that the Special Master appointed by the Court is unable to perform
            all the duties assigned.

     1.73. Subcontractor. “Subcontractor” shall mean any subcontractor which took part in
           the building, remodeling or restoration of any property with KPT Chinese
           Drywall.

     1.74. Subsupplier. “Subsupplier” shall mean any person or entity to which a Supplier
           sold, marketed, distributed, or supplied KPT Chinese Drywall, directly or
           indirectly, to be provided to another for use or installation, in any property.

     1.75. Suppliers. “Suppliers” shall mean, Banner, InEx and L&W.

     1.76. Tenants. “Tenants” shall mean any person or entity who rents Affected Property
           with KPT Chinese Drywall.

     1.77. Xactimate. “Xactimate” shall mean the full estimate, including 10% for
           contractor overhead and 10% for contractor profit (but no additional overhead and
           profit for the Lead Contractor), prepared by the Lead Contractor using the
           Xactimate software as described in the Court’s Findings of Fact and Conclusions
           of Law in Hernandez v. Knauf Gips KG, No. 09-6050 and the testimony and
           exhibits cited therein for purposes of determining benefits under Sections 4.3.2
           through 4.3.6. For each KPT Property, the Lead Contractor shall prepare the
           Xactimate based on the KPT Property’s geographic location and the most recent
           complete Xactimate pricing.

     1.78. Second Amendment. “Second Amendment” shall mean the second amendment
           to the InEx Class Settlement and this Settlement preliminarily approved by the
           Court on November 19, 2012 and incorporated fully as part of this Settlement.

2.   Effective Date

     2.1.   It shall be a condition precedent to the Knauf Defendants’ and PSC’s obligations
            under this Settlement that the Insurer Class Settlement be finalized in a form
            satisfactory to the PSC and the Knauf Defendants, including a release by the
            insurers and their insureds of claims against the Knauf Defendants and Other
            Releasees arising from KPT Chinese Drywall as contemplated by Sections 5.3
            through 5.6 of the Insurer Class Settlement.

     2.2.   The “Effective Date” of this Settlement shall be the date when the Settlement
            becomes Final. “Final” means:

            2.2.1. If no objections to the Settlement are filed, or if any objections are filed
                   and voluntarily withdrawn prior to entry of the Order and Judgment, then



                                            11
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 15 of 83




                   the date 30 days following the approval by the Court of the Order and
                   Judgment and its entry on the Court’s docket, if there is no appeal; or

            2.2.2. If any objections are filed and not voluntarily withdrawn prior to the entry
                   of the Order and Judgment, then the later of: (a) the expiration of the time
                   to file or notice any appeal from the Court’s Order and Judgment
                   approving this Settlement; or (b) the date of final affirmance of any
                   appeals therefrom.

3.   Settlement of All Claims Against The Knauf Defendants

     3.1.   The Settlement will settle and resolve with finality on behalf of Participating
            Class Members the Litigation, the Released Claims, and the Related Claims
            against the Knauf Defendants and any other claims that have been brought, could
            have been brought or could be brought now or at any time in the future by
            Participating Class Members in the Litigation or any other proceeding relating to
            KPT Chinese Drywall, whether legal or otherwise.

     3.2.   The Settlement will not settle or release any claims by way of contribution or
            indemnification that the Knauf Defendants may have against third parties or any
            claims by Participating Class Members against third parties that any Knauf
            Defendant has obtained by way of assignment arising out of, in any manner
            related to, or connected in any way with KPT Chinese Drywall, except to the
            extent such third party has provided the Knauf Defendants with a reciprocal
            release and except that the Knauf Defendants release all such claims against Other
            Releasees, to the extent their insurers participate in the Insurer Class Settlement.
            The Parties will not interfere with the Knauf Defendants’ rights or efforts to assert
            claims by way of contribution or indemnity against third parties arising out of, in
            any manner related to, or connected in any way with KPT Chinese Drywall.

4.   Settlement Funds

     4.1.   In consideration of settlement of all claims against the Knauf Defendants by
            Participating Class Members, the Knauf Defendants shall establish two funds, a
            Remediation Fund and an Other Loss Fund. Only the Owner Subclasses are
            eligible to participate in the Remediation Fund. Both the Owner Subclasses and
            the Tenant Subclass are eligible to participate in the Other Loss Fund.

     4.2.   Establishment and Administration of the Remediation Fund:

            4.2.1. The Remediation Fund will be a Court-approved Qualified Settlement
                   Fund pursuant to Section 1.468B-1 et seq. of the Treasury Regulations
                   promulgated under Section 468B of the Internal Revenue Code of 1986, as
                   amended. The escrow agreement establishing the Remediation Fund will
                   be in a form mutually agreed upon by the Parties and approved by the
                   Court.




                                             12
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 16 of 83




          4.2.2. The Remediation Fund will be established through an initial deposit by the
                 Knauf Defendants of $200 million paid within 30 days of the Court’s
                 Order and Judgment approving the Settlement and shall be replenished in
                 increments of $50 million as of each time the balance of the Fund is
                 reduced to $25 million. All funding of the Remediation Fund shall be in
                 US dollars. Within 15 days of the Court’s Order and Judgment approving
                 the Settlement, the parties shall cause the escrow agent managing the Pilot
                 Program account to transfer any funds remaining in that account to the
                 Remediation Fund, which transfer shall be credited towards the Knauf
                 Defendants’ initial $200 million initial deposit into the Remediation Fund.
                 The parties may agree, or the Court may order, that there be a lower
                 amount of replenishment upon a showing that the remaining liabilities of
                 the Remediation Fund are less than $75 million, and that there be no
                 replenishment upon a showing that the remaining liabilities of the
                 Remediation Fund are less than $25 million.

          4.2.3. The net amounts recovered after payment of attorneys’ fees and costs from
                 the Insurer Class Settlement toward payment of claims related to KPT
                 Chinese Drywall and after allocation between KPT Chinese Drywall and
                 Non-KPT Chinese Drywall shall be deposited 50% into the Remediation
                 Fund and 50% into the Other Loss Fund.

          4.2.4. If the amount specified in paragraphs 4.2.2 and 4.2.3 is insufficient at any
                 time to pay all or any outstanding Approved Claims and Administrative
                 Expenses, upon fifteen (15) days notice, the Knauf Defendants will
                 replenish the Remediation Fund in payments on an as needed basis to
                 satisfy the outstanding Approved Claims and Administrative Expenses.
                 Within the time period described above, the Settlement Administrator
                 shall determine when, and if so the amount of any replenishment payments
                 required under this Section. The Settlement Administrator shall retain the
                 services of a certified public accountant, following approval of the Court,
                 to assist in overseeing and administering this Fund.

          4.2.5. The Knauf Defendants will be entitled to receive a refund of any amounts
                 remaining in the Remediation Fund after all Participating Owner Class
                 Members have been compensated and all Administrative Expenses have
                 been paid.

          4.2.6. Administrative Expenses of the Remediation Fund will be paid from
                 interest earned on the amounts deposited. If the interest is insufficient to
                 pay all expenses, the Remediation Fund will pay any amounts necessary to
                 cover the shortfall out of principal.

          4.2.7. The Settlement Administrator shall provide to the Court on a monthly
                 basis, and as requested, financial reports, including all expenditures and
                 receipts, the expense of which is to be borne by the Remediation Fund.
                 Copies of the monthly financial reports shall also be provided to the Knauf


                                          13
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 17 of 83




                  Defendants and Settlement Class Counsel. Settlement Class Counsel and
                  the Knauf Defendants shall have the right to audit the Remediation Fund
                  at their own expense.

           4.2.8. All decisions by the Settlement Administrator or Special Master with
                  respect to the Remediation Fund shall be in writing and shall be served on
                  the parties by overnight mail to Settlement Class Counsel, Arnold Levin
                  (Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500,
                  Philadelphia, PA 19106) and Russ M. Herman (Herman, Herman, Katz &
                  Cotlar, LLP, 820 O’Keefe Avenue, New Orleans, Louisiana 70113), and
                  the Knauf Defendants’ counsel, Kerry Miller (Frilot L.L.C., 1100 Poydras
                  Street, Suite 3700, New Orleans, LA 70163).

           4.2.9. Unless otherwise final and binding pursuant to the relevant sections
                  below, decisions of the Special Master with respect to the Remediation
                  Fund may be appealed by Settlement Class Counsel, the Knauf
                  Defendants or an affected Class Member within 15 days of service of the
                  Special Master’s decision by filing an objection with the Court, but only
                  after Settlement Class Counsel, the Knauf Defendants, and, if applicable,
                  an affected Class Member’s counsel meet and confer in an attempt to
                  resolve such issue. Unless the Court orders otherwise, appeals will be
                  based on the record and briefing before the Special Master without further
                  evidentiary submissions, briefing or argument. Any Party may, at its own
                  expense, request that proceedings before the Special Master be
                  transcribed. The Court’s decision on any objections will be final, with no
                  further appeals permitted.

    4.3.   Remediation Fund Benefits. KPT Property Owner Subclass Members can elect
           one of the following benefits from the Remediation Fund:

           4.3.1. Option 1. Program Contractor Remediation Option/Property Not Yet
                  Remediated: For KPT Property Owners selecting this option, the
                  Remediation Fund will pay the Lead Contractor or Other Approved
                  Contractor to remediate the Owner’s KPT Property, according to the
                  Remediation Protocol and consistent with Section 4.5 below, plus, for
                  Residential Owners, the applicable Other Covered Expenses according to
                  the following criteria:

                  4.3.1.1.   Lump Sum Payment.

                             4.3.1.1.1.   For KPT Properties that are less than or equal to
                                          3,500 square feet “under air,” as determined by
                                          the Lead Contractor or Other Approved
                                          Contractor and as set forth in the Sample
                                          Contractor-KPT Property Owner Agreement
                                          attached as an exhibit to the Remediation Protocol
                                          (“Under Air Area”), a single payment (“Lump


                                          14
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 18 of 83




                                       Sum Payment”) of $8.50 per square foot of the
                                       Under Air Area.

                          4.3.1.1.2.   For KPT Properties that have an Under Air Area
                                       greater than 3,500 square feet, a Lump Sum
                                       Payment of $10.00 per square foot of the Under
                                       Air Area.

                          4.3.1.1.3.   The Lump Sum Payment will be paid to the KPT
                                       Property Owner as soon as practicable, but not
                                       more than fifteen (15) days, after the KPT
                                       Property Owner executes an agreement
                                       substantially in the form of the Sample
                                       Contractor-KPT Property Owner Agreement.

               4.3.1.2.   Delay Period Payment. In the event that the remediation work
                           is not substantially complete at the end of the three-month
                           period commencing with the date on which the Lead
                           Contractor or Other Approved Contractors starts the
                           remediation work (“Move-Out Date”),

                          4.3.1.2.1.   For KPT Properties that have an Under Air Area
                                       less than or equal to 3,500 square feet, an
                                       additional payment of $1.50 per square foot of the
                                       Under Air Area for each additional month (“the
                                       Delay Period Payment”) that the KPT Property
                                       Owner is displaced from the KPT Property (the
                                       “Delay Period”), subject to the following:

                                  a.   In the event of an unanticipated delay in the
                                       scheduled time for remediation, as disclosed to
                                       the KPT Property Owner prior to the Move-Out
                                       Date, such Delay Period shall be the period
                                       commencing three months after the Move-Out
                                       Date and terminating 10 business days after the
                                       KPT Property Owner has received both a
                                       certificate of occupancy and an Environmental
                                       Certificate from the Lead Contractor or Other
                                       Approved Contractor.

                                  b.   However, where the Lead Contractor or Other
                                       Approved Contractor initially schedules a
                                       remediation to go beyond the three-month period
                                       commencing with the Move-Out Date, and the
                                       Lead Contractor or Other Approved Contractor so
                                       advises the KPT Property Owner prior to the
                                       Move-Out Date, the Delay Period shall be the


                                       15
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 19 of 83




                                         period commencing three months after the Move-
                                         Out Date and terminating at the initially scheduled
                                         completion date. For example, if the Lead
                                         Contractor initially schedules a remediation to last
                                         four months beyond the Move-Out Date and the
                                         remediation is completed on schedule, the Delay
                                         Period shall be one month (the period
                                         commencing three months after the Move-Out
                                         Date and terminating at the initially scheduled
                                         completion date).

                            4.3.1.2.2.   For KPT Properties that have an Under Air Area
                                         greater than 3,500 square feet, a single, one-time
                                         Delay Period Payment of $1.50 per square foot of
                                         the Under Air Area.

                 4.3.1.3.   The Lump Sum Payment and any Delay Period Payment are
                            solely for the benefit of the KPT Property Owner. KPT
                            Property Owners’ counsel shall not deduct any contingency fee
                            or any other fee or expenses from the Lump Sum Payment and
                            any Delay Period Payment. To the extent fees or expenses are
                            to be paid based on such Payments, such fees and expenses
                            shall be determined according to the procedures set forth in
                            Section 14.

          4.3.2. Option 2. Self-Remediation Option: For KPT Property Owners
                 selecting this option, the Remediation Fund will pay the KPT Property
                 Owner’s chosen contractor an amount equal to the higher of the Final Cost
                 Estimate prepared by the Lead Contactor or 65% of the Xactimate
                 prepared by the Lead Contractor to remediate the KPT Property under the
                 Remediation Protocol. The Lead Contractor shall provide the Final Cost
                 Estimate and Xactimate to the Settlement Administrator who shall make it
                 available to the KPT Property Owner. In addition, for Residential Owners
                 who select the Self-Remediation Option, the Remediation Fund will pay
                 the Lump Sum Payment under Section 4.3.1.1, but not the Delay Period
                 Payment under Section 4.3.1.2.

                 4.3.2.1.   To exercise this option, the KPT Property Owner must submit a
                            binding contract with an insured and licensed contractor
                            providing for the scope of work equivalent to that set forth in
                            the Remediation Protocol. The contract must include a
                            representation that the contractor is insured for residential
                            construction.

                 4.3.2.2.   Any payments pursuant to this option will be made directly to
                            the licensed contractor upon a determination by the Settlement
                            Administrator that the licensed contractor has performed


                                          16
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 20 of 83




                          satisfactory work consistent with the contract, except that for
                          Residential Owners, the payment for Other Covered Expenses
                          will be made directly to the KPT Property Owner. Of the
                          amount designated for remediation, 30% will be paid to the
                          licensed contractor for building permits and fees and as a down
                          payment within 15 days of the provision by the KPT Property
                          Owner of a binding contract with the licensed contractor under
                          Section 4.3.2.1, 30% upon the KPT Property Owner’s providing
                          the Settlement Administrator with the Environmental Certificate
                          and certification of removal of the electrical wiring, home
                          security equipment, and copper gas lines in compliance with the
                          Remediation Protocol; 30% upon completion of drywall
                          installation, and the remaining 10% to be paid upon the KPT
                          Property Owner’s submission of proof acceptable to the
                          Settlement Administrator that the remediation of the KPT
                          Property has been completed according to the Remediation
                          Protocol and that the Contractor has provided to the homeowner
                          a final release of lien or liens, or such other sufficient evidence,
                          demonstrating that any actual or potential liens filed in relation
                          to the remediation work have been either released or bonded off
                          such that the KPT Property Owner’s title is clear of all liens
                          related to the remediation work. The amount designated for
                          Other Covered Expenses will be paid upon the Settlement
                          Administrator’s determination that the claim is qualified.

               4.3.2.3.   The licensed contractor or any subcontractor or any person or
                          entity retained by the licensed contractor shall not be the agent
                          of the Knauf Defendants, the PSC or the Remediation Fund.
                          Nor shall the Knauf Defendants, the PSC or the Remediation
                          Fund be responsible for or warrant any facet of the remediation
                          work, including but not limited to, the removal and disposal of
                          the drywall from the KPT Property, which shall be disposed of
                          at an appropriate construction and demolition solid waste
                          landfill in accordance with waste regulations of the jurisdiction
                          where the KPT Property is located, the remediation work
                          performed by the licensed contractor, any damages caused by
                          the remediation, and/or any appliances replaced or reinstalled
                          during the remediation. The licensed contractor must provide a
                          certification to the Settlement Administrator that, in disposing
                          the drywall, it has complied with the applicable waste
                          regulations of its jurisdiction. The Knauf Defendants, the PSC
                          and the Remediation Fund shall not be responsible for any
                          warranties and/or liens placed on the KPT Property as a result
                          of the remediation work performed under Section 4.3.2. The
                          KPT Property Owner and the licensed contractor shall
                          indemnify, defend and hold harmless the Knauf Defendants, the
                          PSC and the Remediation Fund from and against all claims and


                                         17
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 21 of 83




                            future claims relating to any facet of the remediation work
                            performed under Section 4.3.2. The Knauf Defendants, the PSC
                            and the Remediation Fund shall have no liability related to the
                            remediation work performed under Section 4.3.2. other than the
                            Knauf Defendants’ and the Remediation Fund’s obligation to
                            provide funds for the remediation according to the terms of this
                            Settlement.

          4.3.3. Option 3. Cash-Out Option: For KPT Property Owners selecting this
                 option, the Remediation Fund will pay the KPT Property Owner an
                 amount of money equal to the amount specified in Section 4.3.2; however,
                 because the KPT Property Owner is not remediating that KPT Property,
                 and therefore to account for additional risk to the Knauf Defendants, such
                 amount will be reduced by $7.50 per square foot. In addition, for
                 Residential Owners who select this option, the Remediation Fund will pay
                 the KPT Property Owner a reduced Lump Sum Payment of $3.50 per
                 square foot under Section 4.3.1.1 because the KPT Property Owner will
                 not incur alternative living expenses. The Remediation Fund will not pay
                 a Delay Period Payment under Section 4.3.1.2 to a KPT Property Owner
                 who selects this option. The KPT Property Owner may select this option
                 only (i) if there is no mortgage or other lien on the property, or if the KPT
                 Property Owner provides a release by the Mortgagee(s) or Lienholder(s) to
                 the Knauf Defendants and Other Releasees; (ii) if the KPT Property
                 Owner records the existence of reactive Chinese Drywall in the local
                 property clerks’ office, if permitted by local law; and (iii) covenants to
                 inform subsequent purchasers of the KPT Property of the presence of KPT
                 Chinese Drywall by stating under oath in application for this benefit that
                 “I will inform any subsequent purchaser in writing that there is reactive
                 KPT Chinese Drywall in the KPT Property and I will defend and
                 indemnify the Knauf Defendants and any other person or entity released
                 by the Settlement against claims asserted by subsequent purchasers arising
                 from KPT Chinese Drywall.”

          4.3.4. Mixed Property Owners: Mixed Property Owners may select only the
                 Self-Remediation Option (as set forth in Section 4.3.2) or the Cash-Out
                 Option (as set forth in Section 4.3.3).

                 4.3.4.1.   In the event a Mixed Property Owner selects the Self-
                            Remediation Option, in accordance with Section 4.3.4.1.1, the
                            Remediation Fund will pay the Mixed Property Owner’s chosen
                            contractor amounts equal to the cash payments specified in
                            Section 4.3.2 multiplied by the KPT Drywall Percentage and
                            pursuant to the payment schedule set forth in Section 4.3.2.2.
                            In accordance with Section 4.3.4.1.1, the Mixed Property
                            Owner shall be responsible for paying the chosen contractor the
                            remaining amounts due under his or her contract with the
                            chosen contractor (the “Mixed Property Owner Payment”). In


                                           18
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 22 of 83




                          addition, the Remediation Fund will pay the Mixed Property
                          Owner the Lump Sum Payment specified in Section 4.3.1.1
                          multiplied by the KPT Drywall Percentage.

                          4.3.4.1.1.   As a precondition to the Remediation Fund’s
                                       obligation to pay the Mixed Property Owner’s
                                       chosen contractor, within 15 days of the Mixed
                                       Property Owner’s submission to the Settlement
                                       Administrator, the Mixed Property Owner will
                                       deposit the Mixed Property Owner Payment into
                                       an escrow account to be established by the Mixed
                                       Property Owner and the Knauf Defendants, .
                                       There shall be a single escrow agent mutually
                                       agreeable to the Parties for all such escrow
                                       accounts. After the Mixed Property Owner
                                       deposits the Mixed Property Owner Payment into
                                       the escrow account, the Remediation Fund shall
                                       deposit an amount equal to the cash payments
                                       specified in Section 4.3.2 multiplied by the KPT
                                       Drywall Percentage.        The Mixed Property
                                       Owner’s chosen contractor shall be paid from the
                                       escrow account pursuant to the schedule in
                                       Section 4.3.2.2. If the Mixed Property Owner
                                       fails to deposit the Mixed Property Owner
                                       Payment, the Mixed Property Owner shall be
                                       deemed to have selected the Cash-Out Option
                                       under Section 4.3.3.

                          4.3.4.1.2.   The Mixed Property Owner and his or her chosen
                                       contractor shall be subject to all the terms,
                                       conditions and deadlines set forth in Sections
                                       4.3.2.1 through 4.3.2.3.

                          4.3.4.1.3.   The Mixed Property Owner may choose the Lead
                                       Contractor or an Other Approved Contractor as
                                       his or her chosen contractor. In that event, the
                                       Mixed Property Owner and the Lead Contractor
                                       or an Other Approved Contractor shall be subject
                                       to all the terms and conditions set forth in Section
                                       4.3.2.

               4.3.4.2.   In the event a Mixed Property Owner selects the Cash-Out
                          Option, the Remediation Fund will pay the Mixed Property
                          Owner an amount equal to the payment specified in Section
                          4.3.2 multiplied by the KPT Drywall Percentage and the Lump
                          Sum Payment specified in Section 4.3.1.1 multiplied by the
                          KPT Drywall Percentage. The Remediation Fund will not pay


                                       19
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 23 of 83




                            the Delay Period Payment to a Mixed Property Owner who
                            selects the Cash-Out Option. A Mixed Property Owner who
                            selects the Cash-Out Option must satisfy the conditions
                            specified in the last sentence of Section 4.3.3, except for the
                            condition that the Mixed Property Owner provide a release from
                            the Mortgagee(s) or Lienholder(s) to the Knauf Defendants and
                            Other Releasees set forth in subsection (i) of that sentence.

                 4.3.4.3.   Mixed Property Owners shall retain all their rights against any
                            and all parties responsible for damages incurred as a result of
                            Non-KPT Chinese Drywall to the extent not previously resolved
                            by settlement or judgment. The Knauf Defendants shall retain
                            all their rights to contribution and indemnity to recover Mixed
                            Property Payments from any and all parties responsible for
                            damages incurred as a result of Non-KPT Chinese Drywall.

          4.3.5. Foreclosed Properties: In the case of Foreclosed Properties:

                 4.3.5.1.   For Foreclosed Properties, (a) the Mortgagee shall be entitled to
                            the benefits under Sections 4.3.1, 4.3.2 or 4.3.3, except for the
                            Other Covered Expenses, but only if the Mortgagee became the
                            Owner after foreclosure and remains the Owner of the Affected
                            Property and the Mortgagee provides a release to the Knauf
                            Defendants and Other Releasees; and (b) the Owner prior to the
                            foreclosure shall be entitled to the Lump Sum Payment under
                            Section 4.3.1.1, but not the Delay Period Payment under
                            Section 4.3.1.2.

          4.3.6. Multiple Unit Properties.

                 4.3.6.1.   General Terms

                            4.3.6.1.1.   Choice of Remediation Options Based on
                                         Feasibility of Individual Unit Remediation.
                                         The Remediation Fund options available for
                                         Multiple Unit Properties will depend upon
                                         (i) whether it is feasible to treat each individual
                                         unit in the Multiple Unit Property as an individual
                                         property, and (ii) whether all units with KPT
                                         Chinese Drywall in a Multiple Unit Property are
                                         KPT Properties or whether some are Mixed
                                         Properties.

                            4.3.6.1.2.   Determination of Feasibility. It is feasible to
                                         treat each unit in a Multiple Unit Property as a
                                         single property if the unit can be remediated
                                         without need to remediate any other part of the



                                          20
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 24 of 83




                                    Multiple Unit Property. The Lead Contractor
                                    and/or Other Approved Contractor shall
                                    determine, in their sole discretion, whether it is
                                    feasible to remediate individual units without
                                    need to remediate any other part of the Multiple
                                    Unit Property.

                       4.3.6.1.3.   Limitations on Choice of Options. Where it is
                                    feasible to treat each unit in a Multiple Unit
                                    Property as an individual property and the
                                    Multiple Unit Property Governing Body selects
                                    the Program Contractor Remediation Option (as
                                    set forth in Section 4.3.1) for some individual
                                    units and the Self-Remediation Option (as set
                                    forth in Section 4.3.2) for other individual units
                                    and/or remediation of common areas, no work
                                    under the Self-Remediation Option shall
                                    commence until all work under the Program
                                    Contractor Remediation Option in the Multiple
                                    Unit Property has been completed because of the
                                    infeasibility of having multiple contractors
                                    remediate a single Multiple Unit Property.

                       4.3.6.1.4.   Calculation of the KPT Drywall Percentage.
                                    For Multiple Unit Properties that are Mixed
                                    Properties, the following method shall be used to
                                    calculate the KPT Drywall Percentage:

                               a.   Any individual unit that is not inspected shall be
                                    presumed to contain only Non-KPT Chinese
                                    Drywall and its KPT Drywall Percentage shall be
                                    presumed to be 0%. The Multiple Unit Property
                                    Governing Body may seek to rebut that
                                    presumption by requesting an inspection at its
                                    own costs of any or all such units under the
                                    Inspection Protocol.

                               b.   In determining the KPT Drywall Percentage for
                                    the Multiple Unit Property, the numerator shall be
                                    calculated by adding the KPT Drywall percentage
                                    for each individual unit (expressed as a decimal,
                                    for example a unit with a KPT Drywall
                                    Percentage of 100% shall equal 1 and a unit with
                                    a KPT Drywall Percentage of 50% shall equal .5).
                                    The denominator shall be the total number of
                                    individual units.



                                    21
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 25 of 83




                               c.   For example, assume a Multiple Unit Property has
                                    100 individual units with (i) 25 individual units
                                    that have a KPT Drywall Percentage of 100%; (ii)
                                    25 individual units that have a KPT Drywall
                                    Percentage of 50%; and (iii) 50 individual units
                                    that were not inspected. In that circumstance, in
                                    determining the KPT Drywall Percentage for the
                                    Multiple Unit Property, the numerator shall be
                                    37.5 (25 individual units x 1, plus 25 individual
                                    units x .5, plus 50 individual units x 0). The
                                    denominator shall be 100 (the total number of
                                    units in the building).      The KPT Drywall
                                    Percentage for the Multiple Unit Property shall be
                                    37.5%, which, pursuant to Section 1.26, shall be
                                    rounded to 40%.

                       4.3.6.1.5.   Obligations of the Multiple Unit Property
                                    Governing Body.

                               a.   Regardless of its selection of either the Program
                                    Contractor Remediation Option or Self-
                                    Remediation Option, the Multiple Unit Property
                                    Governing Body must do the following;

                                    (i)     as to the common areas provide a written
                                            representation that it has the legal
                                            authority to bind all individual unit
                                            property owners to its selection; and

                                    (ii)    as to individual units that are Affected
                                            Properties, obtain informed written
                                            consent of all owners of such individual
                                            units to the Multiple Unit Property
                                            Governing Board’s selection.

                                    (iii)   In addition, due to possible inconvenience
                                            caused by the remediation to all owners of
                                            individual units that are not Affected
                                            Properties, the Multiple Unit Property
                                            Governing Body must obtain informed
                                            written consent of all owners of such
                                            individual units to the Multiple Unit
                                            Property Governing Board’s selection. In
                                            the event that the Multiple Unit Property
                                            Governing Body is unable to obtain
                                            informed written consent of all owners of
                                            individual units that are not Affected


                                    22
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 26 of 83




                                          Properties, the Multiple Unit Property
                                          Governing Body shall be limited to the
                                          Cash-Out Option unless otherwise agreed
                                          to by the Knauf Defendants.

                              b.   To the extent that the Multiple Unit Property
                                   Governing Body selects the Program Contractor
                                   Remediation Option, it, and the individual unit
                                   owners and tenants, must comply with the
                                   remediation schedule and relocation plan created
                                   by the Lead Contractor or Other Approved
                                   Contractor.

                                   (i)    The Lead Contractor or Other Approved
                                          Contractor shall provide a proposed
                                          remediation schedule and relocation plan
                                          to Settlement Class Counsel, the Knauf
                                          Defendants and the Multiple Unit
                                          Governing Body. Within 15 days after
                                          notice, any Party may object to the
                                          proposed remediation schedule and
                                          relocation plan in writing to the Special
                                          Master and provide copies to the other
                                          parties. If, after 15 days, there are no
                                          objections, the proposed remediation
                                          schedule and relocation plan shall be final.
                                          If, after 15 days, there are objections, the
                                          Special Master shall resolve them.

                              c.   To the extent that the Multiple Unit Property
                                   Governing Body selects the Cash-Out Option for
                                   an individual unit, the Multiple Unit Governing
                                   Body and/or the individual unit owners of
                                   Affected Properties shall comply with all the
                                   requirements in Section 4.3.3. and the Multiple
                                   Unit Governing Body must provide the Releases
                                   set forth in Section 5 from the individual unit
                                   owners of Affected Properties.

                              d.   The Multiple Unit Property Governing Body must
                                   secure from all individual unit owners a dismissal
                                   with prejudice of the individual unit owners’
                                   claims against the Knauf Defendants and Other
                                   Releasees, but not the Excluded Releasees,
                                   relating to the KPT Chinese Drywall in the
                                   individual unit.



                                   23
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 27 of 83




               4.3.6.2.   Options available to the Multiple Unit Property Governing
                          Body where, pursuant to Section 4.3.6.1.2, it is feasible treat
                          each unit as a single property. For individual units that are
                          KPT Properties located in a Multiple Unit Property, where
                          feasible as defined in Section 4.3.1.6.2, each individual unit
                          shall be treated as a single KPT Property without regard to its
                          existence in a Multiple Unit Property.

                          4.3.6.2.1.   Where no individual unit in the Multiple Unit
                                       Property is a Mixed Property, the Multiple Unit
                                       Property Governing Body for the Multiple Unit
                                       Property shall be permitted to select from among
                                       the Program Contractor Remediation Option (set
                                       forth in Section 4.3.1), the Self Remediation
                                       Option (set forth in Section 4.3.2), and the Cash-
                                       Out Option (set forth in Section 4.3.3), for each
                                       individual unit, subject to Section 4.3.5. Such
                                       options will be available for the common areas.
                                       In the event that the Multiple Unit Property
                                       Governing Body opts out of this Settlement,
                                       subject to the Knauf Defendants’ termination
                                       rights under Sections 8.3 and 13.2, nothing in this
                                       Settlement shall prevent an individual unit owner
                                       from participating in this Settlement, and
                                       receiving benefits available to Owners, provided
                                       that the individual unit can be remediated on an
                                       individual basis, included but not limited to
                                       without the need for consent to the remediation by
                                       the Multiple Unit Property Governing Body. In
                                       such instance, however, unless all such individual
                                       unit owners select the Program Contractor
                                       Remediation Option, such individual unit owners
                                       will be permitted to select only between the Self-
                                       Remediation Option and the Cash-Out Option.

                          4.3.6.2.2.   Where any individual unit in the Multiple Unit
                                       Property is a Mixed Property, the Program
                                       Contractor Remediation Option shall not be
                                       available, and the Multiple Unit Property
                                       Governing Body shall only be permitted to select
                                       from among the Self-Remediation Option and the
                                       Cash-Out Option both of which shall be subject to
                                       terms set forth in Section 4.3.4 governing Mixed
                                       Properties. Such options will be available for the
                                       common areas. The KPT Drywall Percentage for
                                       the common areas will be the KPT Drywall



                                        24
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 28 of 83




                                        Percentage of the entire Multiple Unit Property as
                                        determined under Section 4.3.6.1.4.

               4.3.6.3.   Options Available to the Multiple Unit Property Governing
                          Body where, pursuant to Section 4.3.6.1.2, it is not feasible
                          to treat each unit as a single property.

                          4.3.6.3.1.    Where there are no individual units that are Mixed
                                        Properties, the Multiple Unit Property Governing
                                        Body shall be permitted to select a single option
                                        from among the Program Contractor Remediation
                                        Option (set forth in Section 4.3.1), the Self-
                                        Remediation Option (set forth in Section 4.3.2)
                                        and the Cash-Out Option (set forth in Section
                                        4.3.3), which shall apply to the entire Multiple
                                        Unit Property, subject to Sections 4.3.5 and
                                        4.3.6.1.5.

                          4.3.6.3.2.    Where there are individual units that are Mixed
                                        Properties or that contain Non-KPT Chinese
                                        Drywall (but not KPT Chinese Drywall), the
                                        Multiple Unit Property Governing Body shall be
                                        permitted to select between the Self-Remediation
                                        Option and the Cash-Out Option, which shall
                                        apply to the entire Multiple Unit Property, subject
                                        to Sections 4.3.4, 4.3.5, and 4.3.6.1.5, and to the
                                        common areas. The KPT Drywall Percentage for
                                        the common areas will be the KPT Drywall
                                        Percentage of the entire Multiple Unit Property as
                                        determined under Section 4.3.6.1.4.

               4.3.6.4.   To the extent that the Multiple-Unit Property Governing Body
                          chooses the Cash-Out Option for the common areas, any
                          payments with respect to the common areas will be equitably
                          distributed to all individual unit owners and/or the Multiple
                          Unit Property Governing Body to the extent of their respective
                          legal ownership in the common areas.

               4.3.6.5.   Complex High Rise Structures With Special Issues.
                          Settlement Class Counsel and the Knauf Defendants recognize
                          that special unanticipated issues may arise involving certain
                          complex high rise structures. If Settlement Class Counsel and
                          the Knauf Defendants are in agreement that a particular high
                          rise structure presents special unanticipated issues, they may by
                          mutual agreement, after consultation with counsel for
                          Participating Class Members connected with the Affected
                          Property, propose a solution that is tailored to the circumstances


                                        25
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 29 of 83




                           of that Affected Property. Settlement Class Counsel and the
                           Knauf Defendants must each agree that a high rise structure
                           qualifies for this provision, and to the proposed solution.
                           Participating Class Members may accept the proposed solution
                           or appeal to the Court, which shall then decide the issue without
                           further appeal.

          4.3.7. Already Remediated Properties.

                4.3.7.1.   Owners who have self-remediated Affected Properties or have
                           entered into contracts to self-remediate Affected Properties
                           prior to the Execution Date shall be entitled to benefits to
                           resolve their Remediation Claims as provided in the Already
                           Remediated Properties Protocol. Such benefits shall be paid
                           from the Remediation Fund. In addition, such Owners are
                           entitled to seek benefits from the Other Loss Fund.

          4.3.8. Timing for Election of Options.

                4.3.8.1.   Prior to any qualified Class Member selecting one of the above
                           options, the Lead Contractor or Other Approved Contractor
                           shall prepare an Xactimate and a Final Cost Estimate for the
                           Affected Property and shall provide such documents to the
                           Settlement Administrator, who shall make them available to the
                           Class Member.

                4.3.8.2.   Subject to the conditions set forth in Section 4.3.1 through
                           4.3.6, within 45 days of the receipt of the Xactimate and Final
                           Cost Estimate from the Settlement Administrator, the Class
                           Member shall notify the Settlement Administrator of his or her
                           election of the Program Contractor Remediation Option (as set
                           forth in Section 4.3.1), the Self-Remediation Option (as set
                           forth in Section 4.3.2), or the Cash-Out Option (as set forth in
                           Section 4.3.3).

                           4.3.8.2.1.   To the extent that the Class Member elects the
                                        Self-Remediation Option, the Class Member must
                                        also submit a binding contract as provided in
                                        Section 4.3.2.1 at the same time as the election.

                           4.3.8.2.2.   To the extent that the Class Member elects the
                                        Cash Option, the Class Member must also have
                                        complied with the requirements set forth in
                                        Section 4.3.3 by the time of election.




                                         26
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 30 of 83




    4.4.   Remediation Fund Qualifying Procedures

           4.4.1. In order to qualify for benefits of the Remediation Fund an Owner
                  Subclass Member whose property has not already been remediated must
                  submit physical proof such as photographic evidence or inspection reports
                  satisfactory to the Settlement Administrator that the property has KPT
                  Chinese Drywall. The Settlement Administrator shall be trained on the
                  identification of KPT Chinese Drywall by the Approved Inspectors
                  identified in the Inspection Protocol. An Owner Subclass Member who
                  has submitted satisfactory physical proof must submit his property for an
                  inspection pursuant to the Inspection Protocol by an inspector retained by
                  the Knauf Defendants to verify (a) that the property contains KPT Chinese
                  Drywall, (b) proof of corrosion or other acceptable evidence that the KPT
                  Chinese Drywall was reactive, and (c) the KPT Chinese Drywall
                  Percentage (which will also determine whether the Affected Property is a
                  KPT Property or a Mixed Property). As soon as practicable, but not less
                  than 15 days from the Settlement Administrator’s determination that the
                  Owner Subclass Member has submitted satisfactory physical proof, the
                  inspector shall contact the Owner Subclass Member to schedule a date for
                  the inspection. All inspections and inspectors shall be paid out of the
                  Remediation Fund unless the inspection has been procured by fraud.
                  Inspections shall be conducted pursuant to the Inspection Protocol and all
                  inspectors must be approved by the Knauf Defendants and Settlement
                  Class Counsel. The inspector shall determine whether the property has
                  KPT Chinese Drywall and if so the KPT Drywall Percentage based solely
                  on the methodology set forth in the Inspection Protocol. The inspector’s
                  determination shall be final unless the Knauf Defendants, Settlement Class
                  Counsel or the Owner Subclass Member objects to the inspector’s
                  determination. In that event, the Knauf Defendants, Settlement Class
                  Counsel and the Owner Subclass Member shall meet and confer in an
                  attempt to resolve the objection, and to the extent the objection is not
                  resolved within 5 business days, the objection shall be submitted to the
                  Special Master who shall resolve the objection based solely on the
                  methodology set forth in the Inspection Protocol, which shall be final and
                  binding on all Parties, and not on any other methodology.

           4.4.2. All Owner Subclass Members must submit their claims to the Settlement
                  Administrator by a date to be established by the Court. Untimely
                  submitted claims shall be rejected unless the Court extends the deadline
                  for good cause shown.

    4.5.   Cost Control and Dispute Resolution Mechanisms for Program Contractor
           Remediation Option

           4.5.1. In conducting their duties, the Lead Contractor and Other Approved
                  Contractors shall conduct the remediation work so as to achieve, on a cost
                  effective basis, the removal of all KPT Chinese Drywall, KPT Chinese


                                          27
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 31 of 83




               Drywall-related odors and contamination; and to leave the home with the
               same construction quality and finishes, including remediating any damage
               to such quality and finishes that was caused by the KPT Chinese Drywall,
               as existed prior to the start of the remediation or damages caused by the
               remediation work subject to the Sample Contractor-KPT Property Owner
               Agreement attached as an exhibit to the Remediation Protocol. To that
               end, the Parties agree to the following cost-control procedures:

               4.5.1.1.   The Knauf Defendants, in consultation with Settlement Class
                          Counsel, have selected the Lead Contractor to undertake the
                          remediation of KPT Properties to be remediated pursuant to the
                          Program Contractor Remediation Option described in Section
                          4.3.1. The contract between the Lead Contractor and the Knauf
                          Defendants entered into for purposes of the Pilot Program shall
                          remain in effect but shall be modified or amended so as to
                          achieve the objectives of this Settlement, including to provide
                          that payments due the Lead Contractor shall be made from the
                          Remediation Fund.

                          4.5.1.1.1.   The Knauf Defendants reserve the right to assign
                                       an Other Approved Contractor to perform and/or
                                       oversee the remediation in a particular KPT
                                       Property, being remediated pursuant to the
                                       Program Contractor Remediation Option, for any
                                       reason, including, but not limited to,
                                       circumstances where the Other Approved
                                       Contractor can remediate the KPT Property on a
                                       more cost-efficient basis.

               4.5.1.2.   For KPT Properties to be remediated pursuant to the Program
                          Contractor Remediation Option described in Section 4.3.1, the
                          Knauf Defendants shall solicit and approve a detailed estimate
                          of the costs to do the remediation work (“Preliminary Cost
                          Estimate”) from the Lead Contractor or an Other Approved
                          Contractor. The Lead Contractor or an Other Approved
                          Contractor shall submit the Preliminary Cost Estimate to the
                          Settlement Administrator.     Absent action by the Knauf
                          Defendants within five business days, the Preliminary Cost
                          Estimate shall be deemed the Final Cost Estimate. Upon the
                          Knauf Defendants’ approval of the Final Cost Estimate, the
                          Final Cost Estimate shall be submitted to the Settlement
                          Administrator.

                          4.5.1.2.1.   In the event that a dispute arises between a KPT
                                       Property Owner and the Lead Contractor or Other
                                       Approved Contractor over the Remediation
                                       Protocol for the individual KPT Property, such


                                        28
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 32 of 83




                                        dispute shall be submitted to the Special Master
                                        who will resolve the dispute. The parties shall
                                        cooperate with the Special Master to resolve any
                                        disputes expeditiously and avoid, to the maximum
                                        extent possible, any delay in the remediation.

                          4.5.1.2.2.    Any expenses associated with a dispute between a
                                        KPT Property Owner and the Lead Contractor or
                                        Other     Approved       Contractor    (“Mediation
                                        Expenses”) as regards the Remediation Protocol,
                                        including progress and quality, and any warranties
                                        provided by the Contractor, will be jointly shared
                                        by the Knauf Defendants and the KPT Property
                                        Owner. In the event that disputes asserted by a
                                        Party are asserted in bad faith, the Special Master
                                        may in his discretion direct that the Mediation
                                        Expenses incurred in resolving any such bad faith
                                        disputes asserted by that Party will be paid by
                                        same; otherwise, expenses will be shared equally
                                        by the Parties to the dispute.

               4.5.1.3.   As soon as practicable after the Effective Date, the Settlement
                          Administrator shall provide the Lead Contractor with a list of
                          those Class Members who have selected the Program
                          Contractor Remediation Option.           Thereafter, the Lead
                          Contractor shall develop a remediation schedule that will
                          provide a consistent flow of work to the Lead Contractor to
                          allow the Lead Contractor to maintain the necessary staffing
                          levels during the period required to remediate KPT Properties
                          with a goal of commencing the remediation process in at least
                          200 KPT Properties each month under Sections 4.3.1 and 4.3.2.
                          The remediation plan shall be developed in a manner that
                          maximizes economies of scale, including, for example, by
                          releasing KPT Properties to the Lead Contractor in the same
                          neighborhood or geographic location. To the extent that the
                          Lead Contractor lacks sufficient staff or other resources to
                          commence the remediation process in order to meet the above
                          goal, the Knauf Defendants will assign an Other Approved
                          Contractor to assist the Lead Contractor in meeting that goal.

               4.5.1.4.   In creating the Final Cost Estimate, the Lead Contractor or
                          Other Approved Contractors shall (a) reasonably pursue all
                          economies of scale, where applicable, to reduce the cost of
                          performing the repair work required by the Remediation
                          Protocol, (b) to the extent that portions of the repair work are to
                          be performed by a subcontractor, base the Cost Estimate on a
                          competitive bidding process among potential subcontractors,


                                         29
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 33 of 83




                          and (c) obtain materials or equipment fabricated especially for
                          the repair work through a competitive bidding process. All
                          documents pertaining to the Cost Estimate and the remediation
                          work, including but not limited to the documents identified in
                          Section 4.5.1.5 shall be submitted to the Settlement
                          Administrator.

                          4.5.1.4.1.   The Xactimate and/or Final Cost Estimate may
                                       not address all conditions subject to the
                                       Remediation Protocol because the Lead
                                       Contractor cannot verify such conditions until
                                       after the Remediation of the KPT Property
                                       commences. In such cases, the Knauf Defendants
                                       shall be obligated to fund the remediation of such
                                       conditions, if and only if, the KPT Property is
                                       being remediated pursuant to the Program
                                       Contractor Remediation Option set forth in
                                       Section 4.3.1. To the extent that a KPT Property
                                       Owner chooses the Self-Remediation Option, set
                                       forth in Section 4.3.2, or the Cash-Out Option, set
                                       forth in Section 4.3.3., neither the Xactimate nor
                                       the Final Cost Estimate shall be revised to account
                                       for such conditions. In no event shall the
                                       Xactimate or the Final Cost Estimate be reduced.

               4.5.1.5.   The Settlement Administrator shall place all documents
                          submitted under Section 4.5.1.4 and related to the remediation
                          in electronic depositories (either shared or separate, to be
                          determined by technical experts or by the Court if the technical
                          experts cannot reach agreement) to which Settlement Class
                          Counsel and Individual Class Members’ counsel shall each have
                          private, password-protected and secure access.            Those
                          documents shall include but not be limited to the following:

                          4.5.1.5.1.   All Xactimate computations;

                          4.5.1.5.2.   Any computations evidencing discounts to any
                                       remediation performed;

                          4.5.1.5.3.   All itemized bids;

                          4.5.1.5.4.   Any contracts;

                          4.5.1.5.5.   A comprehensive listing of all administrative
                                       expenses;

                          4.5.1.5.6.   All subcontractor agreements and/or any other
                                       contract entered into by the Lead Contractor,


                                        30
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 34 of 83




                                        including but not limited to any subcontractor
                                        bids;

                          4.5.1.5.7.    Copies of all governmental charges, inspections
                                        and permits;

                          4.5.1.5.8.    The applicable      Lead      Contractor    mediation
                                        process;

                          4.5.1.5.9.    All work authorizations;

                          4.5.1.5.10.   Evidence     of     payments    to         contractors,
                                        subcontractors, claimants, vendors;

                          4.5.1.5.11.   Subcontractor and contractor warranties; and

                          4.5.1.5.12.   All substitute contractors.

               4.5.1.6.   Any Party shall have the right to apply to the Court for good
                          cause shown to replace the Lead Contractor, Other Approved
                          Contractors or the Special Master. The Lead Contractor, Other
                          Approved Contractors or the Special Master shall not be
                          replaced absent an order of the Court finding good cause. The
                          Court’s decision on such matters shall be final, with no further
                          appeals permitted.

               4.5.1.7.   Class Members who select the Program Contractor Remediation
                          Option described in Section 4.3.1 shall have the right to consult
                          with the designated Ombudsman for his or her Affected
                          Property regarding matters relating to the remediation process
                          other than having to do with the Final Cost Estimate or
                          Preliminary Cost Estimate, including, but not limited to, the
                          actual remediation work, and, in the event that a dispute arises,
                          during the dispute resolution process described in Sections
                          4.5.1.2.1 and 4.5.1.2.2.

                          4.5.1.7.1.    There shall be two Ombudsmen whose
                                        responsibilities    shall  be     divided    along
                                        geographical lines – one who is situated in Florida
                                        and will advise on Affected Properties in Florida
                                        and one who is situated in New Orleans,
                                        Louisiana and will advise on Affected Properties
                                        in any other state.

                          4.5.1.7.2.    Within 30 days of the Effective Date, the PSC
                                        shall appoint the Ombudsmen.




                                        31
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 35 of 83




                             4.5.1.7.3.    The Lead Contractor shall work to familiarize the
                                           Ombudsmen with each facet of the Remediation
                                           Protocol, including but not limited to the scope of
                                           work under the Remediation Protocol and the
                                           remediation process.

    4.6.   Establishment and Administration of the Other Loss Fund

           4.6.1. The Other Loss Fund will be a Court-approved Qualified Settlement Fund
                  pursuant to Section 1.468B-1 et seq. of the Treasury Regulations
                  promulgated under Section 468B of the Internal Revenue Code of 1986, as
                  amended. The escrow agreement establishing the Other Loss Fund will be
                  in a form mutually agreed upon by the Parties and approved by the Court.

           4.6.2. The Other Loss Fund will be established through a deposit by the Knauf
                  Defendants of $30 million paid within 30 days of the Court’s Order and
                  Judgment approving the Settlement. All funding of the Other Loss Fund
                  shall be in US dollars.

           4.6.3. Any amounts recovered from the Insurer Class Settlement toward payment
                  of claims related to KPT Chinese Drywall shall be deposited 50% into the
                  Remediation Fund and 50% into the Other Loss Fund.

           4.6.4. The Knauf Defendants’ contribution to the Other Loss Fund shall be fixed
                  under Sections 4.6.2. The Knauf Defendants shall have no obligation to
                  make further payments into the Fund and shall not be entitled to a refund
                  of any amounts deposited.

           4.6.5. Administrative Expenses of the Other Loss Fund will be paid from interest
                  earned on the amounts deposited. If the interest is insufficient to pay all
                  expenses, the Remediation Fund will pay any amounts necessary to cover
                  the shortfall.

           4.6.6. The Settlement Administrator shall provide to the Court on a monthly
                  basis an accounting of all funds held in the Other Loss Fund. Copies of
                  the monthly accountings shall also be provided to the Knauf Defendants
                  and Settlement Class Counsel. Settlement Class Counsel and the Knauf
                  Defendants shall have the right to audit the Other Loss Fund at their own
                  expense.

           4.6.7. The Settlement Administrator shall retain the services of a certified public
                  accountant, following appointment by the Court, to assist in overseeing
                  and administering this Fund. All decisions by the Special Master with
                  respect to the Other Loss Fund shall be in writing and shall be served on
                  the parties by overnight mail to Settlement Class Counsel, Arnold Levin
                  (Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500,
                  Philadelphia, PA 19106) and Russ M. Herman (Herman, Herman, Katz &
                  Cotlar, LLP, 820 O’Keefe Avenue, New Orleans, Louisiana 70113), and


                                           32
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 36 of 83




                  the Knauf Defendants’ counsel, Kerry Miller (Frilot L.L.C., 1100 Poydras
                  Street, Suite 3700, New Orleans, LA 70163).

           4.6.8. Unless otherwise final and binding pursuant to the relevant sections
                  below, decisions of the Special Master with respect to the Other Loss
                  Fund may be appealed by Settlement Class Counsel, the Knauf
                  Defendants or an affected Class Member within 15 days of service of the
                  Special Master’s decision by filing an objection with the Court, but only
                  after Settlement Class Counsel, the Knauf Defendants, and, if applicable,
                  an affected Class Member’s counsel meet and confer in an attempt to
                  resolve such issue. Unless the Court orders otherwise, appeals will be
                  based on the record and briefing before the Special Master without further
                  evidentiary submissions, briefing or argument. Any Party may, at its own
                  expense, request that proceedings before the Special Master be
                  transcribed. The Court’s decision on any objections will be final, with no
                  further appeals permitted.

    4.7.   Other Loss Fund Benefits

           4.7.1. Subject to the procedures set forth in Section 4.7.4, the Other Loss Fund
                  will be used to provide the following benefits:

                  4.7.1.1. Pre-Remediation Alternative Living Expenses:                For
                  Residential Owners, alternative living expenses arising from the need to
                  vacate the Affected Property incurred prior to remediation as a result of
                  property damage caused by KPT Chinese Drywall; provided that the
                  Residential Owner vacated the Affected Property on or before the
                  Execution Date. For Residential Owners, Other Loss shall not include
                  alternative living expenses during remediation and personal property
                  damage, as that is reimbursed by the Remediation Fund.

                            4.7.1.1.1.    To obtain benefits under this Section, a
                                          Residential Owner must establish that the pre-
                                          remediation alternative living expenses were
                                          substantially caused by KPT Chinese Drywall.

                            4.7.1.1.2.    To obtain benefits under this Section, the
                                          Residential Owner must submit the following:

                                    a.    physical proof such as photographic evidence or
                                          inspection reports satisfactory to the Settlement
                                          Administrator that the Affected Property has KPT
                                          Chinese Drywall and proof of corrosion and that
                                          the KPT Chinese Drywall was reactive prior to
                                          the Residential Owner vacating the Affected
                                          Property;




                                          33
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 37 of 83




                                  b.   all verified and authenticated documents
                                       regarding alternative living expenses, including,
                                       but not limited to, a lease;

                                  c.   to the extent applicable, all loan documents,
                                       including but not limited to, a mortgage;

                                  d.   to the extent applicable, all documents relating to
                                       mortgage or lease payments, including but not
                                       limited to, cancelled checks and past due notices;

                                  e.   affidavits from the Residential Owner in support
                                       of the claim with supporting documentation; and

                                  f.   a report pursuant to Rule 26(a)(2) of the Federal
                                       Rules of Civil Procedure from an expert in
                                       support of the claim that the alternative living
                                       expenses were substantially caused by the need to
                                       vacate the Affected Property prior to remediation
                                       as a result of damage caused by KPT Chinese
                                       Drywall may be required by the Special Master.

                                  g.   If the Special Master requires a report pursuant to
                                       subsection (f), within a time to be determined by
                                       the Court, any Party shall have the right to
                                       challenge the admissibility of the expert’s
                                       opinion, including without limitation, under the
                                       principles set forth in Federal Rule of Evidence
                                       702 and Daubert v. Merrell Dow Pharms., Inc.,
                                       509 U.S. 579 (1993) and its progeny by filing a
                                       motion with the Court. The Court shall then
                                       establish a briefing and hearing schedule on any
                                       such challenge. The Court’s ruling on any such
                                       motion shall be final with no appeals.

               4.7.1.2.   Lost Use, Sales and Rentals: For Commercial Owners,
                          economic loss for a period not to exceed three months, arising
                          from the inability to use or rent Affected Property during
                          remediation, and economic losses arising from the inability to
                          sell Affected Property as a result of property damage caused by
                          KPT Chinese Drywall, but only to the extent that such economic
                          loss could not be mitigated or has not been reimbursed by
                          insurance. For Commercial Owners, Other Loss shall not
                          include alternative living expenses during remediation and
                          personal property damage.




                                        34
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 38 of 83




                       4.7.1.2.1.   To obtain benefits under this Section, a
                                    Commercial Owner must establish that the lost
                                    use, sales or rentals were substantially caused by
                                    KPT Chinese Drywall.

                       4.7.1.2.2.   To obtain benefits under this Section, the
                                    Commercial Owner must submit the following:

                               a.   physical proof such as photographic evidence or
                                    inspection reports satisfactory to the Settlement
                                    Administrator that the Affected Property has KPT
                                    Chinese Drywall and proof of corrosion or other
                                    acceptable evidence that the KPT Chinese
                                    Drywall was reactive;

                               b.   proof of purchase of the Affected Property;

                               c.   purchase price and appraised value at purchase of
                                    the Affected Property;

                               d.   all documents relating to communications with
                                    third parties, including but not limited to, real
                                    estate agents and contractors, regarding using,
                                    leasing or sale of the Affected Property;

                               e.   all documents relating to mortgage or lease
                                    payments, including but not limited to, cancelled
                                    checks, past due notices and late fees or other
                                    charges;

                               f.   all documents regarding the inability to use, rent
                                    or sell the Affected Property as a result of
                                    property damage caused by KPT Chinese
                                    Drywall;

                               g.   tax returns for each of the three years prior to the
                                    inability to use, rent or sell the Affected Property
                                    as a result of property damage caused by KPT
                                    Chinese Drywall and up to the date of the
                                    submission;

                               h.   profit and loss statements for the three years prior
                                    to the inability to use, rent or sell the Affected
                                    Property as a result of property damage caused by
                                    KPT Chinese Drywall and up to the date of the
                                    submission;




                                    35
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 39 of 83




                               i.   affidavits from the Commercial Owner in support
                                    of the claim with supporting documentation; and

                               j.   a report pursuant to Rule 26(a)(2) of the Federal
                                    Rules of Civil Procedure from an expert in
                                    support of the claim that the inability to use, rent
                                    or sell the Affected Property was substantially
                                    caused by KPT Chinese Drywall and the
                                    Commercial Owner incurred losses as a result.

                               k.   Within a time to be determined by the Court, any
                                    Party shall have the right to challenge the
                                    admissibility of the expert’s opinion, including
                                    without limitation, under the principles set forth in
                                    Federal Rule of Evidence 702 and Daubert v.
                                    Merrell Dow Pharms., Inc., 509 U.S. 579 (1993)
                                    and its progeny by filing a motion with the Court.
                                    The Court shall then establish a briefing and
                                    hearing schedule on any such challenge. The
                                    Court’s ruling on any such motion shall be final
                                    with no appeals.

                       4.7.1.2.3.   The Special Master shall consider the following
                                    principles in evaluating a claim by a Commercial
                                    Owner for economic loss arising from the
                                    inability to sell Affected Property due to KPT
                                    Chinese Drywall:

                               a.   The Special Master shall assume that the Affected
                                    Property or any units within a Multiple Unit
                                    Property will be sold at a fair market value after
                                    the remediation is completed.

                               b.   The Commercial Owner shall be entitled only to
                                    the lost value of money resulting from the delay in
                                    selling the Affected Property or units within a
                                    Multiple Unit Property.

                               c.   If a Commercial Owner who is qualified to obtain
                                    benefits under this Section has outstanding loans
                                    on the Affected Property, the Commercial Owner
                                    shall be entitled to recover interest (but not
                                    principal) payments on the loan or loans, but only
                                    to the extent that the Commercial Owner was
                                    unable to sell the Affected Property due to KPT
                                    Chinese Drywall. For example, a Commercial
                                    Owner of an Affected Multiple Unit Property with


                                    36
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 40 of 83




                                       100 units who was unable to sell 50 units due to
                                       KPT Chinese Drywall would be entitled to 50%
                                       of the interest payments.

                                  d.   If a Commercial Owner who is qualified to obtain
                                       benefits under this Section has no outstanding
                                       loans on the Affected Property, the Commercial
                                       Owner shall be entitled to claim lost interest as if
                                       the Commercial Owner invested in 1-year U.S.
                                       Treasury bills, but only to the extent that the
                                       Commercial Owner was unable to sell the
                                       Affected Property due to KPT Chinese Drywall.



               4.7.1.3.   Foreclosures: With respect to Foreclosed Properties, for
                          Owners prior to foreclosure, an amount to be determined by the
                          Special Master for Lost Equity (but not lost anticipated market
                          value) in the Foreclosed Property less the Owners’ recovery
                          under Section 4.3.5.1(b).

                          4.7.1.3.1.   To obtain benefits under this Section, an Owner
                                       must establish that the foreclosure was
                                       substantially caused by KPT Chinese Drywall.

                          4.7.1.3.2.   To obtain benefits under Section 4.7.1.3, an
                                       Owner must establish the following

                                  a.   For a Residential Owner Subclass Member who
                                       owned the Foreclosed Property prior to
                                       foreclosure, he or she must establish that the KPT
                                       Chinese Drywall substantially caused the
                                       foreclosure.

                                  b.   For a Commercial Owner Subclass Member who
                                       owned the Foreclosed Property prior to
                                       foreclosure, he or she must establish that the KPT
                                       Chinese Drywall substantially caused (i) the
                                       Tenants of the Foreclosed Property to vacate,
                                       causing the Commercial Owner to lose rent, or (ii)
                                       decreased revenue to the Commercial Owner’s
                                       business.

                                  c.   For the Owner of a Foreclosed Property where the
                                       Foreclosure is attributable to circumstances other
                                       than those described in 4.7.1.3.2.a or 4.7.1.3.2.b
                                       above, such as economic downturns, personal
                                       financial losses and/or loss of employment, the


                                        37
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 41 of 83




                                    Owner shall not be entitled to payments under
                                    Section 4.7.1.3

                       4.7.1.3.3.   An Owner prior to foreclosure seeking benefits
                                    under Section 4.7.1.3 must submit

                               a.   physical proof such as photographic evidence or
                                    inspection reports satisfactory to the Settlement
                                    Administrator that the Affected Property has KPT
                                    Chinese Drywall and proof of corrosion prior to
                                    foreclosure or other acceptable evidence that the
                                    KPT Chinese Drywall was reactive prior to
                                    foreclosure;

                               b.   proof of purchase of the Affected Property;

                               c.   purchase price and appraised value at purchase of
                                    the Affected Property;

                               d.   sale price and tax assessed value at sale of the
                                    Affected Property;

                               e.   for a Residential Owner Subclass Member, all
                                    verified and authenticated documents regarding
                                    alternative living expenses, including, but not
                                    limited to, a lease;

                               f.   for a Commercial Owner Subclass Member, all
                                    documents regarding the occupancy arrangement
                                    with the Tenant(s), including, but not limited to, a
                                    lease;

                               g.   all loan documents, including but not limited to,
                                    the mortgage;

                               h.   all documents regarding the foreclosure
                                    proceeding, including but not limited to,
                                    forbearance agreements, all court documents and
                                    correspondence between the Owner and the bank;

                               i.   all documents relating to mortgage payments,
                                    including but not limited to, cancelled checks and
                                    past due notices;

                               j.   all documents regarding attempts to sell or rent
                                    the Affected Property;




                                    38
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 42 of 83




                                  k.   affidavits from the Owner in support of the claim
                                       with supporting documentation; and

                                  l.   a report pursuant to Rule 26(a)(2) of the Federal
                                       Rules of Civil Procedure from an expert in
                                       support of the claim that the foreclosure was
                                       substantially caused by KPT Chinese Drywall and
                                       the Owner incurred losses as a result.

                                  m.   Within a time to be determined by the Court, any
                                       Party shall have the right to challenge the
                                       admissibility of the expert’s opinion, including
                                       without limitation, under the principles set forth in
                                       Federal Rule of Evidence 702 and Daubert v.
                                       Merrell Dow Pharms., Inc., 509 U.S. 579 (1993)
                                       and its progeny by filing a motion with the Court.
                                       The Court shall then establish a briefing and
                                       hearing schedule on any such challenge. The
                                       Court’s ruling on any such motion shall be final
                                       with no appeals.

               4.7.1.4.   Sales In Mitigation: For Residential or Commercial Owners
                          who, due to the presence of KPT Chinese Drywall, sold
                          Affected Properties in an attempt to mitigate their losses, an
                          amount to be determined by the Special Master for Lost Equity.

                          4.7.1.4.1.   To obtain benefits under this Section an Owner
                                       must establish that the sale was substantially
                                       caused by KPT Chinese Drywall and was done in
                                       an attempt to mitigate losses.

                          4.7.1.4.2.   An Owner who seeks benefits under this Section
                                       must submit the following:

                                  a.   physical proof such as photographic evidence or
                                       inspection reports satisfactory to the Settlement
                                       Administrator that the Affected Property has KPT
                                       Chinese Drywall and proof of corrosion prior to
                                       the sale or other acceptable evidence that the KPT
                                       Chinese Drywall was reactive prior to the sale;

                                  b.   proof of purchase of the Affected Property;

                                  c.   closing documents, including but not limited to
                                       the sales price of the Affected Property, appraised
                                       value at purchase of the Affected Property, down
                                       payment on the purchase price and mortgage



                                        39
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 43 of 83




                                   amount related to the purchase of the Affected
                                   Property;

                              d.   sale price, appraised value at time of sale and tax
                                   assessed value at time of sale of the Affected
                                   Property;

                              e.   for a Residential Owner Subclass Member, all
                                   verified and authenticated documents regarding
                                   alternative living expenses, including, but not
                                   limited to, a lease;

                              f.   for a Commercial Owner Subclass Member, all
                                   documents regarding the occupancy arrangement
                                   with the Tenant(s), including, but not limited to, a
                                   lease;

                              g.   all loan documents, including but not limited to,
                                   the mortgage;

                              h.   all documents relating to mortgage payments,
                                   including but not limited to, cancelled checks and
                                   past due notices;

                              i.   all documents regarding attempts to sell or rent
                                   the Affected Property;

                              j.   affidavits from the Owner in support of the claim
                                   explaining that the sale was not related to factors
                                   other than attempting to mitigate losses with
                                   supporting documentation; and

                              k.   a report pursuant to Rule 26(a)(2) of the Federal
                                   Rules of Civil Procedure from an expert in
                                   support of the claim that the sale was substantially
                                   caused by KPT Chinese Drywall and the Owner
                                   incurred losses as a result.

                              l.   Within a time to be determined by the Court, any
                                   Party shall have the right to challenge the
                                   admissibility of the expert’s opinion, including
                                   without limitation, under the principles set forth in
                                   Federal Rule of Evidence 702 and Daubert v.
                                   Merrell Dow Pharms., Inc., 509 U.S. 579 (1993)
                                   and its progeny by filing a motion with the Court.
                                   The Court shall then establish a briefing and
                                   hearing schedule on any such challenge. The



                                   40
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 44 of 83




                                       Court’s ruling on any such motion shall be final
                                       with no appeals.

               4.7.1.5.   Tenant Losses: For Tenants, an amount to be determined by
                          the Special Master to compensate for moving expenses (if the
                          Tenant is displaced by remediation) and personal property
                          damage, such as to jewelry and Tenant-owned appliances,
                          caused by KPT Chinese Drywall that is incurred by Tenant
                          Subclass Members.

                          4.7.1.5.1.   To obtain benefits under this Section, a Tenant
                                       must establish that the personal property damage
                                       and moving expenses were substantially caused
                                       by KPT Chinese Drywall.

                          4.7.1.5.2.   A Tenant who seeks benefits under this Section
                                       must submit the following:

                                  a.   physical proof such as photographic evidence or
                                       inspection reports satisfactory to the Settlement
                                       Administrator that the Affected Property has KPT
                                       Chinese Drywall and proof of corrosion and that
                                       the KPT Chinese Drywall was reactive;

                                  b.   all verified and authenticated documents
                                       regarding moving expenses and personal property
                                       damage, including but not limited to, mover
                                       receipts and proof of purchase of personal
                                       property;

                                  c.   affidavits from the Tenant in support of the claim
                                       with supporting documentation.

               4.7.1.6.   For Residential Owners or Tenants who lived or worked in
                          Affected Property for more than one year, a mechanism as set
                          forth in Section 4.7.2 for Residential Owners or Tenants to
                          raise, for Knauf Defendants to challenge and for the Court to
                          decide disputed bodily injury claims.

                          4.7.1.6.1.   The PSC has received complaints of alleged
                                       bodily injury. The Knauf Defendants deny that
                                       there is any evidence of bodily injury arising from
                                       or related to KPT Chinese Drywall.

                          4.7.1.6.2.   The Class Notice shall expressly inform Class
                                       Members that:        “The Knauf Defendants
                                       vigorously deny that KPT Drywall causes bodily
                                       injury. The Knauf Defendants state that no


                                       41
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 45 of 83




                                         published study or government agency has found
                                         that KPT Drywall causes bodily injury. The
                                         Knauf Defendants reserve the right to contest
                                         bodily injury claims submitted by Class Members
                                         under the procedures set forth in this Agreement.”

                 4.7.1.7.   “Lost Equity” for the purposes of Section 4.7.1.3 and 4.7.1.4
                            shall mean the lesser of (a) the amount a person invested in the
                            Affected Property (“investments”) less the amount recovered in
                            a sale of the Affected Property; or (b) the dollar value which
                            would have been otherwise recoverable pursuant to Section
                            4.3.1. had the Affected Property not been foreclosed or sold, as
                            calculated as the Lump Sum Payment pursuant to Section
                            4.3.1.1 plus an average per square foot cost of under-air
                            remediations performed by the Knauf Defendants (net of
                            upgrades) pursuant to Section 4.3.1 (as determined by the Knauf
                            Defendants and provided to the Special Master) through the
                            date of final approval of the Settlement. “Investments” shall be
                            calculated as the total of: (i) the down payment on the purchase
                            price or full purchase price if there was no mortgage or the
                            mortgage was repaid; (ii) principal payments (but not interest)
                            on any mortgage; (iii) down payments on any capital
                            improvements if there was no loan or the loan was repaid; (iv)
                            principal payments (but not interest) on any loans which
                            financed capital improvements; and (v) the satisfaction of a
                            mortgage deficiency as a result of sale, as evidenced by proof of
                            payment of said deficiency.

          4.7.2. Bodily Injury: A Residential Owner or Tenant seeking reimbursement
                 from the Other Loss Fund for bodily injury allegedly attributable to KPT
                 Chinese Drywall must:

                 4.7.2.1.   Have sought medical treatment for the alleged injury prior to
                            the Execution Date.

                 4.7.2.2.   Have received treatment by a healthcare provider documented
                            in medical records prepared at or near the time of the onset of
                            complaints which the claimant now relates to KPT Chinese
                            Drywall.

                 4.7.2.3.   Within a time to be determined by the Court, produce to the
                            Settlement Administrator, Knauf Defendants and Settlement
                            Class Counsel: (a) all pharmacy records since January 1, 2005,
                            including all pharmacy records regarding the dispensing of
                            medication to treat the alleged bodily injury (“Pharmacy
                            Records”), along with a signed certification from the respective
                            pharmacy or pharmacies or from the Claimant (or parent


                                          42
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 46 of 83




                          guardian on behalf of a minor claimant) representing that the
                          production is complete or best efforts have been made to obtain
                          all relevant records and (b) all medical records from healthcare
                          providers since January 1, 2005, including all medical records
                          documenting treatment of the alleged bodily injury (“Medical
                          Records”), along with a signed certification from each such
                          healthcare provider or from the Claimant (or parent guardian on
                          behalf of a minor claimant) representing that all such records in
                          the custody, possession or control of the healthcare provider
                          have been produced or best efforts have been made to obtain all
                          relevant records.

                          4.7.2.3.1.    In connection with any claim made for bodily
                                        injury, the full costs, fees and expenses of that
                                        claim shall be borne by the parties involved in the
                                        bodily injury claim. The PSC shall have no
                                        responsibility to assist in the bodily injury claim
                                        beyond furnishing the claimant and their attorney
                                        materials that are, at the time of any request,
                                        maintained in the PSC depository.

               4.7.2.4.   Within a time to be determined by the Court, produce to the
                          Settlement Administrator, Knauf Defendants and Settlement
                          Class Counsel an affidavit signed by the Participating Class
                          Member (i) attesting that all Pharmacy Records and all Medical
                          Records have been collected and (ii) attesting that all Pharmacy
                          Records and all Medical Records have been produced pursuant
                          to Section 4.7.2.3, along with an index or list identifying the
                          source of said records.

               4.7.2.5.   Within a time to be determined by the Court, produce to the
                          Settlement Administrator, the Knauf Defendants and Settlement
                          Class Counsel a report pursuant to Rule 26(a)(2) of the Federal
                          Rules of Civil Procedure, from his or her treating physician or
                          an expert based upon contemporaneous medical records and
                          diagnosis, providing (i) the evidence specified in Section 4.7.2.3
                          that the alleged bodily injury was substantially caused by KPT
                          Chinese Drywall; and (ii) the medical and scientific bases for
                          that opinion, including the medical and scientific bases for both
                          general and specific causation. The Court, in its discretion, may
                          permit depositions of the treating physician and/or expert.

               4.7.2.6.   Within a time to be determined by the Court, any Party shall
                          have the right to challenge the admissibility of the treater’s or
                          expert’s opinion, including without limitation, under the
                          principles set forth in Federal Rule of Evidence 702 and
                          Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) and


                                        43
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 47 of 83




                            its progeny by filing a motion with the Court. The Court shall
                            then establish a briefing and hearing schedule on any such
                            challenge. The Court’s ruling on any such motion shall be final
                            with no appeals.

                 4.7.2.7.   Each side will bear its own fees and costs with respect to
                            establishing or refuting a claim of bodily injury. Class
                            Members and their counsel may not seek fees or costs under
                            Section 14 in pursuing a bodily injury claim. Any attorneys’
                            fees and costs in connection with a bodily injury claim will
                            come from the award, if any.

          4.7.3. Other Loss Exclusions: Other Loss does not include damage or loss for
                 stigma, injury to reputation, loss of enjoyment of home, psychological or
                 emotional injury, medical monitoring, injury to reputation, credit rating
                 loss, legal and accounting expenses, loss of investment opportunity and
                 except as provided in Section 4.7.3.1 below, any other loss or damage not
                 specifically covered by Sections 4.7.1.1, 4.7.1.2, 4.7.1.3, 4.7.1.4, 4.7.1.5
                 and 4.7.1.6 above. Nonetheless, such claims will be released under this
                 Settlement.

                 4.7.3.1.   The Special Master and the MDL Court may, in their
                            discretion, consider and allow claims that are not explicitly
                            provided in Sections 4.7.1.1, 4.7.1.2, 4.7.1.3, 4.7.1.4, 4.7.1.5
                            and 4.7.1.6, so long as the claims are equitably justified and do
                            not involve claims for the specifically enumerated Other Loss
                            Exclusions. In considering any such additional claims, the
                            Special Master and the MDL Court may, in their discretion,
                            adjust the amount of the claims so as to protect Other Loss
                            funds for other Settlement Class Members.

          4.7.4. Other Loss Fund Claims Procedures: Each Owner and Tenant shall be
                 entitled to receive its pro rata share of the Other Loss Fund, as determined
                 by the following procedures:

                 4.7.4.1.   All Participating Class Members shall submit their claims via
                            the Proof of Claim Form, all documents required under Section
                            4.7 relating to any Other Loss claims and any applicable
                            insurance policies by a date to be established by the Court.
                            Untimely submitted claims shall be rejected unless the Court
                            extends the deadline for good cause shown.

                 4.7.4.2.   Notwithstanding the required documents and/or information set
                            forth within Section 4.7, nothing shall prohibit the Special
                            Master from requesting additional documents and/or
                            information from individual claimants to the Other Loss Fund.



                                          44
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 48 of 83




               4.7.4.3.   The Special Master shall not consider any claims for bodily
                          injury allegedly caused by KPT Chinese Drywall unless the
                          claim satisfies all the requirements of Sections 4.7.2 and the
                          Knauf Defendants have not challenged the claim or the claim
                          has withstood challenge under Section 4.7.2.6. If any claims for
                          bodily injury satisfy these requirements, the Special Master
                          shall determine the validity and amount of such claims pursuant
                          to Section 4.7.4.3.

               4.7.4.4.   The Special Master will evaluate all claims and may reject,
                          accept in part or accept in whole each claim submitted. In
                          evaluating each Participating Class Member’s claim, the Special
                          Master shall apply tort principles regarding causation and loss
                          of the state where the Affected Property relating to that
                          Participating Class Member is located. Participating Class
                          Members submitting claims for Other Loss from Mixed
                          Properties shall have their claims determined by the amount of
                          Other Loss as determined by the Special Master multiplied by
                          the KPT Drywall Percentage. As a result of this evaluation, the
                          Special Master shall determine the amount of reimbursable
                          Other Loss for each Approved Claim and the total for all
                          Approved Claims. The Special Master may appoint accounting
                          or other experts to assist in the evaluation of claims.

                          4.7.4.4.1.   The Special Master shall reduce any Approved
                                       Claim by any amount that was reimbursed for the
                                       Other Loss under the Class Member’s insurance
                                       policies.

               4.7.4.5.   If the total of all Approved Claims for Other Loss Fund benefits
                          is more than the amount deposited in the Other Loss Fund, each
                          claim shall be decreased pro rata so that the distribution does
                          not exceed the amount in the Fund less Administrative
                          Expenses. If the total of all Approved Claims for Other Loss
                          Fund Benefits is less than the amount deposited in the Other
                          Loss Fund, the PSC may petition the Court to use such
                          remaining funds to pay for post-Effective Date administrative
                          legal fees and costs of Settlement Class Counsel, subject to
                          Court approval. If there are funds remaining after payment of
                          post-Effective Date administrative legal fees and costs of
                          Settlement Class Counsel, the PSC may petition the Court to
                          use those funds to offset any deficiency in common benefit
                          legal fees and costs of the PSC and common benefit counsel
                          authorized and working at the direction of the PSC, other
                          common benefit counsel, Settlement Class Counsel and
                          individual retained counsel, subject to a determination by the
                          Court that the common benefit counsel work was valid and


                                        45
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 49 of 83




                           bona fide and Court approval. The Knauf Defendants will take
                           no position on any such request or on the allocation or priority
                           of any such payments. If there are funds remaining after
                           satisfaction of any approved payment of post-Effective Date
                           administrative legal fees and costs of Settlement Class Counsel
                           and other common benefit attorneys’ fees and costs, any
                           remaining funds may be the subject of a cy pres distribution for
                           medical or legal pro bono purposes, subject to Court approval.
                           No funds from the Other Loss Fund will revert to the Knauf
                           Defendants.

                4.7.4.6.   The Settlement Administrator shall not distribute any funds
                           from the Other Loss Fund until such time that the Special
                           Master determines the amount of reimbursable Other Loss for
                           each Approved Claim.

                4.7.4.7.   If prior to the determination of the final amounts to be
                           distributed from the Other Loss Fund, a Participating Class
                           Member who has an Approved Claim demonstrates unusual and
                           compelling financial needs, the Participating Class Member
                           may petition the Special Master to authorize the Settlement
                           Administrator to make a partial payment.

          4.7.5. MMSEA Compliance: The Parties agree to comply with the provisions
                 of Section 111 of the Medicare, Medicaid & SCHIP Extension Act of
                 2007 (“MMSEA”), as codified in 42 U.S.C. § 1395y(b)(8).

                4.7.5.1.   Any funds allocated for bodily injury under Section 4.7.4 above
                           will be paid directly to the Participating Class Members.

                4.7.5.2.   Each Participating Class Member who receives in excess of the
                           MMSEA dollar threshold in effect at the time of the Effective
                           Date from the Other Loss Fund (“Excess Recipient”)
                           acknowledges his/her duty to cooperate with the Knauf
                           Defendants in order to permit Responsible Reporting
                           Entity(ies), as defined by MMSEA, to fulfill their reporting
                           obligations to comply with MMSEA. Each Excess Recipient
                           and his/her attorney agrees to provide the Responsible
                           Reporting Entity(ies) with any and all information necessary for
                           the Responsible Reporting Entity(ies) to comply with MMSEA,
                           including his or her identity, date of birth, social security
                           number, and gender, so as to allow the insurers, or their agents,
                           to determine whether the Excess Recipient is a Medicare
                           Beneficiary, as defined by MMSEA (a “Triggering Claimant”).

                4.7.5.3.   Each Triggering Claimant and his/her attorney shall provide any
                           additional information requested by the Responsible Reporting


                                         46
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 50 of 83




                             Entity(ies) to comply with MMSEA, including the identify of
                             his/her attorney, his/her address, his/her ICD9 number (if
                             applicable), and information related to the injuries allegedly
                             arising from KPT Chinese Drywall. Such information may be
                             reported to the Centers for Medicare & Medicaid Services
                             (CMS), as well as certain agent(s) necessary to facilitate
                             reporting to CMS, pursuant to the Responsible Reporting
                             Entity’s duty to comply with MMSEA.

                  4.7.5.4.   Each Triggering Claimant represents and warrants that all bills,
                             costs or liens resulting from or arising out of alleged injuries,
                             claims or lawsuits related to KPT Chinese Drywall are his/her
                             responsibility to pay, including all Medicare conditional
                             payments, subrogation claims, liens, or other rights to payment,
                             relating to medical treatment or lost wages that have been or
                             may be asserted by any health care provider, insurer,
                             governmental entity, employer or other person or entity.
                             Further, each Triggering Claimant will indemnify, defend and
                             hold each Knauf Defendant harmless from any and all damages,
                             claims and rights to payment, including any attorneys’ fees,
                             brought by any person, entity or governmental agency to
                             recover any of these amounts.

                  4.7.5.5.   The procedures set forth in this Section are intended to ensure
                             compliance with 42 U.S.C. § 1395y. The Parties resolved this
                             matter in compliance with both state and federal law.

    4.8.   Allocation of Amounts from Banner, InEx and L&W Class Settlements Or
           Any Other Settlements

           4.8.1. Any amounts received or to be received by a Participating Class Member
                  under a settlement agreement with any person or entity other than the
                  Knauf Defendants arising from KPT Chinese Drywall to the extent of the
                  KPT Drywall Percentage shall be deposited into the Remediation Fund
                  provided, however, that a Participating Class Member shall have no
                  obligation to deposit any amount received or to be received by a
                  Participating Class Member from an Excluded Releasee into the
                  Remediation Fund. If (and only if) the Participating Class Member does
                  not deposit an amount equal to his/her recovery to the extent of the KPT
                  Drywall Percentage into the Remediation Fund, that amount shall be
                  deducted from any benefit otherwise owing to that Participating Class
                  Member.

           4.8.2. Except as provided in Section 4.8.2.2, each Participating Class Member
                  shall assign his/her claims (to the extent that they relate to KPT Chinese
                  Drywall) to any net recovery under the InEx, Banner and L&W
                  Settlements to the Knauf Defendants, if not already assigned. Any


                                           47
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 51 of 83




                 amounts recovered from the InEx, Banner and L&W Settlements based on
                 such assignments shall be deposited into the Remediation Fund, for
                 purposes of providing Settlement benefits to the individual Participating
                 Class Member(s) involved. For example, if the KPT Drywall Percentage
                 for a Participating Class Member is 40%, then 40% of the Participating
                 Class Member’s recovery under the InEx, Banner and/or L&W
                 Settlements shall be deposited into the Remediation Fund and the
                 Participating Class Member shall be entitled to 60% of the recovery. To
                 the extent a Participating Class Member already has recovered amounts
                 from the InEx, Banner and L&W Settlements, the Participating Class
                 Member shall deposit an amount equal to his/her recovery to the extent of
                 the KPT Drywall Percentage into the Remediation Fund for purposes of
                 providing Settlement benefits to the individual Participating Class
                 Member(s) involved. If (and only if) the Participating Class Member does
                 not deposit an amount equal to his/her recovery to the extent of the KPT
                 Drywall Percentage into the Remediation Fund, that amount shall be
                 deducted from any benefit otherwise owing to that Participating Class
                 Member.

                 4.8.2.1.   A Participating Class Member who has opted out of the InEx,
                            Banner and/or L&W Settlements must successfully apply to the
                            Court to opt back in to those Settlements to be eligible to obtain
                            benefits under this Settlement. If the Participating Class
                            Member remains an opt out from the InEx, Banner and/or L&W
                            Class Settlements, then the Participating Class Member shall be
                            deemed an opt out from this Settlement.

                 4.8.2.2.   The provisions regarding the assignment by InEx Settlement
                            Class Members of any supplemental recovery from the North
                            River Insurance Company shall be governed by the provisions
                            of the Second Amendment.

          4.8.3. Any amounts obtained directly by the Knauf Defendants or the PSC
                 toward payment of claims involving KPT Chinese Drywall shall be
                 deposited to the extent that they relate to KPT Chinese Drywall into the
                 Remediation Fund other than amounts reflecting payments made to
                 remediate Affected Properties under the Pilot Program as set forth in
                 Exhibit H, which amounts were filed under seal.

                 4.8.3.1.   Pursuant to the terms of the Insurer Class Settlement, amounts
                            from such Agreement that are attributable to claims involving
                            KPT Chinese Drywall will be deposited into the Remediation
                            Fund or Other Loss Fund as set forth in Section 4.2.3. For
                            example, if under the Insurer Class Settlement, 40% of the
                            recovery is allocated to claims with KPT Chinese Drywall and
                            60% of the recovery is allocated to claims with Non-KPT



                                          48
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 52 of 83




                             Chinese Drywall, only 40% of the recovery under the Insurer
                             Class Settlement will be deposited into the Settlement Funds.

           4.8.4. The Major Builder Settlement Agreements, the Insurer Class Settlement
                  and any settlements between the PSC or Class members and Other
                  Releasees or Excluded Releasees or any of their insurers shall provide for
                  releases by any party to such settlements of all their claims against the
                  Knauf Defendants related in any way to KPT Chinese Drywall, the
                  Litigation and/or the Related Actions, including but not limited to any and
                  all claims against the Knauf Defendants that the party has, may have, or
                  may have had, regardless of whether such claim is known or unknown,
                  filed or unfiled, asserted or as yet unasserted, or existing or contingent,
                  and whether asserted by petition, complaint, cross-claim, third-party
                  demand or otherwise.

           4.8.5. If Banner, InEx and/or L&W exercise their rights to terminate their
                  respective Class Settlements or file a bankruptcy petition (respectively,
                  “Terminated Banner Class Settlement,” “Terminated InEx Class
                  Settlement” and “Terminated L&W Class Settlement”), then the Knauf
                  Defendants, at their sole and exclusive discretion and option, may
                  terminate this Settlement either in its entirety or only as to the particular
                  Participating Class Members who would have been class members in the
                  Terminated Banner Class Settlement, Terminated InEx Class Settlement
                  and/or Terminated L&W Class Settlement. The Knauf Defendants’
                  exercise of their rights under this Section shall not be reviewable by the
                  Court.

           4.8.6. If the Knauf Defendants fail to agree with Banner and/or InEx on a
                  solution acceptable to the Knauf Defendants that extinguishes any
                  potential claims of Banner and InEx or their insurers against the Knauf
                  Defendants, then the Knauf Defendants can terminate the Settlement either
                  in its entirety or as to all Participating Class Members who are members of
                  or were eligible to participate in the Banner Class Settlement (if the failure
                  to agree is with Banner or its insurers) or the InEx Class Settlement (if the
                  failure to agree is with InEx or its insurers).

           4.8.7. On the last day of each month, the Knauf Defendants shall provide to
                  Settlement Class Counsel a comprehensive listing identifying any sums
                  received in connection with Section 4.8.1, together with a complete
                  identification of the person or entity who provided such sums.

    4.9.   Benefits for Class Members in Properties with Lower-Case KPT Chinese
           Drywall.

           4.9.1. Some properties may contain Lower-Case KPT Chinese Drywall. The
                  Knauf Defendants deny that there is evidence that Lower-Case KPT
                  Chinese Drywall is reactive. Class Members with Lower-Case KPT


                                            49
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 53 of 83




                 Chinese Drywall can elect the benefits provided in Section 4.9.2 or
                 Section 4.9.3.

          4.9.2. For Participating Class Members who own properties with Lower-Case
                 KPT Chinese Drywall, the Knauf Defendants will provide an inspection
                 report from GFA International substantially in the form of Exhibit J_
                 certifying that there is no evidence of reactive Chinese drywall in the
                 property. If the Knauf Defendants provide the inspection report, the
                 Participating Class Member will not be eligible for benefits from the
                 Remediation and Other Loss Funds, except as provided in Section 4.9.2.1
                 below.

                 4.9.2.1.   If the Knauf Defendants provide the inspection report described
                            in Section 4.9.2, each Participating Class Member with Lower-
                            Case KPT Chinese Drywall shall assign 50% of his/her claims
                            to any net recovery under the Insurer Class Settlement to the
                            Knauf Defendants, which amounts shall be deposited into the
                            Remediation Fund, and the Participating Class Member shall
                            retain the remaining 50% of any net recovery under the Insurer
                            Class Settlement. In addition, the Remediation Fund shall pay
                            each Participating Class Member with Lower-Case KPT
                            Chinese Drywall an amount equal to 50% of what their net
                            recovery would be under the InEx, Banner and L&W Class
                            Settlements, but such Participating Class Members will make
                            no claim against the InEx, Banner or L&W Class Settlements.

                 4.9.2.2.   If the Knauf Defendants are unable to provide the inspection
                            report described in Section 4.9.2, at the Knauf Defendants’
                            election either (a) the claimant will become eligible for benefits
                            from the Remediation and Other Loss Funds, or (b) the claimant
                            will be deemed an opt out from this Settlement and that
                            claimant will not provide any release under Section 5 of this
                            Settlement. In the event that subsection (a) applies, the
                            provisions of Sections 4.8.2, 4.2.3 and 4.6.3 shall govern the
                            distribution of any net recoveries from the InEx, Banner, L&W
                            and/or Insurer Class Settlements.

                 4.9.2.3.   Participating Class Members with Lower-Case KPT Chinese
                            Drywall whose properties were previously inspected under the
                            Pilot Program, and whose properties do not become eligible for
                            remediation, shall have any cuts made by the inspection
                            repaired and repainted by the Knauf Defendants. If the
                            Participating Class Member previously made the repairs and
                            repainting, the Knauf Defendants will reimburse the reasonable,
                            documented costs.




                                          50
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 54 of 83




          4.9.3. As an alternative to the benefits provided in Section 4.9.2, a Class
                 Member whose claims are in connection with a property that contains
                 Lower-Case KPT Chinese Drywall may attempt to establish that the
                 Lower-Case KPT Chinese Drywall is reactive under the following
                 procedures:

                4.9.3.1.   To prove that Lower-Case KPT Chinese Drywall is reactive, the
                           Class Member must prove that the Lower-Case KPT Chinese
                           Drywall meets all of the following requirements.

                           4.9.3.1.1.   Elemental Sulfur levels in samples of Lower-Case
                                        KPT Chinese Drywall core found in the property
                                        exceeding 10 ppm as measured by GC/MS;

                           4.9.3.1.2.   Confirmed markings of Lower-Case KPT Chinese
                                        Drywall in the property;

                           4.9.3.1.3.   Elevated Levels of hydrogen sulfide, carbonyl
                                        sulfide and/or carbon disulfide emitted from
                                        samples of Lower-Case KPT Chinese Drywall
                                        found in the property when placed in test
                                        chambers using ASTM Standard Test Method
                                        D5504-08; and

                           4.9.3.1.4.   Corrosion of copper metal to form copper sulfide
                                        when copper is placed in test chambers with
                                        Lower-Case KPT Chinese Drywall samples found
                                        in the property.

                4.9.3.2.   Within a time to be determined by the Court, the Class Member
                           must produce to the Settlement Administrator, the Knauf
                           Defendants and Settlement Class Counsel, test results
                           establishing that the Lower-Case KPT Chinese Drywall is
                           reactive under Section 4.9.2.1. Such testing will be at the
                           expense of the Class Member. The Class Member shall provide
                           access to samples of the Lower-Case KPT Chinese Drywall to
                           the Knauf Defendants sufficient to permit the Knauf Defendants
                           to test the Lower-Case KPT Chinese Drywall at their own cost.

                4.9.3.3.   Within a time to be determined by the Court, the Class Member
                           must produce to the Settlement Administrator, the Knauf
                           Defendants and Settlement Class Counsel, a report pursuant to
                           Rule 26(a)(2) of the Federal Rules of Civil Procedure providing
                           the evidence specified in Section 4.9.2.1 that the Lower-Case
                           KPT Chinese Drywall is reactive and the scientific bases for
                           that opinion.




                                         51
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 55 of 83




                  4.9.3.4.   Within a time to be determined by the Court, any Party shall
                             have the right to challenge the admissibility of the expert’s
                             opinion, including without limitation, under the principles set
                             forth in Federal Rule of Evidence 702 and Daubert v. Merrell
                             Dow Pharms., Inc., 509 U.S. 579 (1993) and its progeny by
                             filing a motion with the Court. The Court shall then establish a
                             briefing and hearing schedule on any such challenge. The
                             Court’s ruling on any such motion shall be final with no
                             appeals.

                  4.9.3.5.   After the Court’s determination on a challenge under Section
                             4.9.2.4 or, if there is no challenge, after the time for a challenge
                             has expired, the Court shall consider and determine the Class
                             Member’s claim that the Lower-Case KPT Chinese Drywall is
                             reactive. The Court’s ruling shall be final with no appeals.

                  4.9.3.6.   If the Court rules that the Lower-Case KPT Chinese Drywall is
                             reactive, the Lower-Case KPT Chinese Drywall shall be
                             considered KPT Chinese Drywall and the Class Member shall
                             be entitled to Remediation Fund and Other Loss Fund benefits
                             under the Settlement subject to all its terms and conditions.

                  4.9.3.7.   If the Court rules that the Lower-Case KPT Chinese Drywall is
                             not reactive, the Class Member shall not be entitled to benefits
                             under the Settlement.



    4.10. Any documents, forms or other material or information required to be submitted
          under Section 4, shall be submitted to the Settlement Administrator. The
          Settlement Administrator, in conjunction with Settlement Class Counsel and the
          Knauf Defendants, shall establish electronic depositories (either shared or
          separate, to be determined by technical experts or by the Court if the technical
          experts cannot reach agreement) in which all such documents will be stored, and
          to which Settlement Class Counsel and Individual Class Members’ counsel shall
          each also have private, password-protected and secure access.

    4.11. The Settlement Funds are available only to resolve claims of Participating Class
          Members. The Settlement Funds shall not be available to satisfy the claims of
          any non-Class Member or Class Member who opts out under Section 8. Non-
          class members and Class Members who opt out under Section 8 shall not be
          permitted to execute on the Settlement Funds or on any amount that the Knauf
          Defendants may be entitled to receive from the Settlement Funds through
          reversion under Section 4.2.5 to satisfy any judgment or for any other reason.




                                            52
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 56 of 83




     4.12. The PSC does not warrant any work and is not responsible for any warranties
           and/or liens that may be placed on Affected Property as a result of the remediation
           work, performed under Section 4 or for any negligence or construction defect.

5.   Releases

     5.1.   Released Claims

            5.1.1. “Released Claim” or “Released Claims” shall mean any and all claims
                   against any Released Party whatsoever (a) arising out of, in any manner
                   related to, or connected in any way with KPT Chinese Drywall, or the
                   collective mitigation of, response to, and/or recovery from the damage
                   caused by KPT Chinese Drywall and/or any act and/or failure to act
                   related in any way to any of the foregoing, and/or (b) for any and all
                   losses, damages and/or injuries arising from, in any manner related to, or
                   connected in any way with all and/or any of the foregoing, including but
                   not limited to any and all claims that a Participating Class Member has,
                   may have, or may have had, regardless of whether such claim is known or
                   unknown, filed or unfiled, asserted or as yet unasserted, or existing or
                   contingent, and whether asserted by petition, complaint, cross-claim, third
                   party demand, or otherwise (or any judgment or order entered on such
                   claims), and which is based upon or alleges any act, conduct, status or
                   obligation of any person or entity (including the Released Parties) and/or
                   any source of liability whatsoever, and regardless of the legal theory or
                   theories of damages involved. Notwithstanding the above, the only parties
                   released are those persons or entities defined as Released Parties. This
                   Settlement does not provide complete compensation to redress all
                   Participating Class Members' damages and therefore Participating Class
                   Members' claims are reserved against the Non-Released Parties who have
                   been named as defendants in the Omni Complaints pending in MDL No.
                   2047.

            5.1.2. The term “Released Claim” or “Released Claims” includes, but is not
                   limited to, the following claims arising out of, in any manner related to, or
                   in any way connected with, KPT Chinese Drywall, the Litigation, or other
                   Related Actions as to the Released Parties:

                   5.1.2.1.   For personal injury, bodily injury (including death), property
                              damage, remediation and/or clean-up of property, diminution of
                              property value, foreclosure, groundwater contamination,
                              economic loss, fear, fear of illness or disease, fear of developing
                              illness or disease, fright, mental or emotional distress, pain and
                              suffering, loss of earnings, impairment of earning capacity, loss
                              of consortium, loss of support, love and affection, equity and
                              medical monitoring, bystander liability, wrongful death,
                              survival actions, breach of contract, all statutory claims,
                              punitive or exemplary damages, attorneys’ fees, costs or


                                             53
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 57 of 83




                          expenses, moving expenses, additional rental or mortgage
                          payments;

               5.1.2.2.   For nuisance, trespass, inconvenience, loss of use or enjoyment,
                          negligence, private nuisance, custody of a thing containing a
                          vice or defect, strict liability, liability for ultrahazardous
                          activities or conduct, absolute liability, wanton and reckless
                          misconduct, malicious misconduct, servitude or obligation of
                          vicinage, abuse of right, or any other liability legally asserted or
                          assertable under any federal, state, or local statute, law,
                          directive or regulation, redhibition, violation of Louisiana New
                          Home Warranty Act, Louisiana Products Liability Act (or
                          similar statutes of other states), negligent discharge of a
                          corrosive substance, unjust enrichment, breach of implied
                          warranty of fitness and merchantability, breach of implied
                          warranty of habitability, violation of consumer protection laws
                          and/or deceptive and unfair trade practices laws of any state,
                          negligent misrepresentation, building code violations, or fraud;

               5.1.2.3.   For damages or alleged damages resulting in whole or in part
                          from exposure of the Class or Participating Class Members or
                          property of the Participating Class Members to hazardous or
                          allegedly hazardous, toxic, dangerous or harmful substances;

               5.1.2.4.   For bad faith or extra-contractual damages;

               5.1.2.5.   For derivative or vicarious liability arising out of the conduct or
                          fault of others for which the Released Parties and/or Knauf
                          Defendants may be responsible;

               5.1.2.6.   For any right legally assertable by the Class or any Participating
                          Class Member now or in the future, whether the claim is
                          personal to each individual, derivative of a claim now or in the
                          future, or as assignee, successor, survivor, legatee, beneficiary,
                          subrogee, or representative of a Participating Class Member;

               5.1.2.7.   For a past, present, future, known, unknown, foreseen,
                          unforeseen, contingent, nascent, mature claim or a claim arising
                          at law, in equity or otherwise, including but not limited to,
                          claims for survival and wrongful death;

               5.1.2.8.   For any claim, right, or action arising out of, based on, or
                          relating to any body of law whatsoever; and for all injuries or
                          damages of any type, nature, or character arising from,
                          attributable to, or in any way resulting from KPT Chinese
                          Drywall;




                                         54
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 58 of 83




                 5.1.2.9.   For any conduct of any of the Released Parties and/or Knauf
                            Defendants with respect to, arising out of or in any way
                            resulting from KPT Chinese Drywall, the Litigation, or the
                            Related Claims; however, this provision is not intended to
                            prevent or impede the enforcement of claims or entitlements to
                            benefits under this Settlement;

                 5.1.2.10. For any claim, known or unknown, for contribution,
                           subrogation, or indemnity, contractual or otherwise, arising out
                           of, attributable to, or in any way related to KPT Chinese
                           Drywall.

                 5.1.2.11. For Participating Class Members who self-remediated their
                           Properties or entered into contracts to self-remediate their
                           Properties prior to the Execution Date, Released Claims shall
                           not include the Remediation Claims unless the Participating
                           Class Member and the Knauf Defendants reach an agreement to
                           resolve the Participating Class Member’s Remediation Claims
                           under the Already Remediated Properties Protocol.

          5.1.3. The term “Released Claim” or “Released Claims” also includes, but is not
                 limited to, the following causes of action arising out of, in any manner
                 related to, or in any way connected with KPT Chinese Drywall, the
                 Litigation, or other Related Actions as to the Knauf Defendants:

                 5.1.3.1.   Strict liability;

                 5.1.3.2.   Violations of the Alabama Deceptive Trade Practices Act (Ala.
                            Code 1975 § 8-19-1, et seq.), the Florida Deceptive and Unfair
                            Trade Practices Act (Fla. Stat. § 501.201, et seq.), the Louisiana
                            Unfair Trade Practices and Consumer Protection Law (L.SA-
                            R.S. 51:1401, et seq.), the Texas Deceptive Trade Practices-
                            Consumer Protection Act (Tex. Bus. Com. Code Ann. § 17.41,
                            et seq.), the Mississippi Consumer Protection Act (Miss. Code
                            Ann. § 75-24-1, et seq.), or any other state or federal consumer
                            protection laws and unfair trade practices laws;

                 5.1.3.3.   Negligence;

                 5.1.3.4.   Private and public nuisance;

                 5.1.3.5.   Tort;

                 5.1.3.6.   Equity and medical monitoring;

                 5.1.3.7.   Breach of contract;

                 5.1.3.8.   Loss of use;


                                                55
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 59 of 83




               5.1.3.9.   Loss of enjoyment;

               5.1.3.10. All statutory claims;

               5.1.3.11. Personal injury, including death therefrom, related statutory
                         violations, and emotional distress and mental anguish;

               5.1.3.12. Bodily injury, including death therefrom, and emotional distress
                         and mental anguish;

               5.1.3.13. Indemnity;

               5.1.3.14. Contribution;

               5.1.3.15. Breach of express or implied warranty;

               5.1.3.16. Redhibition;

               5.1.3.17. Negligence per se;

               5.1.3.18. Violation of the Louisiana New Home Warranty Act (La. R.S.
                         9:3141, et seq.);

               5.1.3.19. Violation of the Louisiana Products Liability Act (La. R.S.
                         9:28000.51 et seq.);

               5.1.3.20. Violation of the Louisiana Hazardous Substances Act (La. R.S.
                         30:2271, et seq.);

               5.1.3.21. Negligent discharge of a corrosive substance;

               5.1.3.22. Unjust enrichment;

               5.1.3.23. Breach of the implied warranty of fitness and merchantability;

               5.1.3.24. Breach of implied warranty of habitability;

               5.1.3.25. Negligent misrepresentation;

               5.1.3.26. Building code violations;

               5.1.3.27. Relief by way of subrogation, contractual indemnity, common
                         law indemnity and/or contribution against the Knauf
                         Defendants;

               5.1.3.28. Attorneys’ fees and any and all costs and expenses of litigation;

               5.1.3.29. Fraud; and



                                         56
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 60 of 83




                  5.1.3.30. Any further claims and/or liabilities arising out of, or otherwise
                            relating to, the sale, supply, marketing, distribution, or use of
                            KPT Chinese Drywall at issue in this Settlement, including, but
                            not limited to, punitive damages, exemplary damages,
                            multiplication of damages, and fines.

    5.2.   Class Release

           5.2.1. As of the Effective Date, and with the approval of the Court, all
                  Participating Class Members, and anyone claiming by, through and/or on
                  behalf of any of them, hereby fully, finally, and forever release, waive,
                  discharge, surrender, forego, give up, abandon, and cancel any and all
                  Released Claims (as defined in Section 5.1) against the Knauf Defendants
                  and the Other Releasees, including (but not limited to) those asserted, or
                  that could have been asserted, in the Litigation, the Related Actions,
                  and/or the Related Claims.

           5.2.2. As of the Effective Date, all Participating Class Members, and anyone
                  claiming by, through and/or on behalf of any of them, will be forever
                  barred and enjoined from prosecuting any action against the Knauf
                  Defendants and the Other Releasees asserting any and/or all Released
                  Claims.

           5.2.3. The execution of the Settlement shall not be construed as a release of any
                  claims the Participating Class Members may have against any person
                  and/or entity other than the Knauf Defendants and the Other Releasees.
                  All Participating Class Members reserve all claims (including, but not
                  limited to, any and all rights and causes of action, no matter how arising,
                  under any ordinance, code, law, statute, federal or state, pending or
                  dismissed, known or unknown) against any person and/or entity other than
                  the Knauf Defendants and the Other Releasees named, or who could have
                  been named, in the Related Actions, including but not limited to
                  manufacturers of Non-KPT Chinese Drywall.

           5.2.4. To avoid inconvenience to the Knauf Defendants, in any action in which
                  any Knauf Defendant is or may be a defendant or a third-party defendant
                  together with other alleged tortfeasors, the Parties agree that each of the
                  Participating Class Members shall accept in satisfaction of any judgment
                  an amount reduced to the extent necessary (under applicable state law
                  whether it be pro rata, pro tanto and/or set-off) to extinguish any claims
                  for contribution, indemnity (common law or contractual), and/or
                  subrogation whether arising out of tort, contract or otherwise, by the other
                  alleged tortfeasors. This provision is intended to obviate the necessity and
                  expense of having the Knauf Defendants remain a party on the record and
                  obliged to participate in a trial merely for the purpose of determining if in
                  fact any Knauf Defendant was a tortfeasor so as to entitle the other
                  tortfeasors to a pro rata or pro tanto reduction or set-off of any judgment.


                                            57
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 61 of 83




                   It is the further intent of the Parties that the Knauf Defendants shall have
                   no further liability in connection with the Released Claims. However, this
                   provision does not constitute an admission of liability by the Knauf
                   Defendants.

            5.2.5. As of the Effective Date, to the extent of each Participating Class
                   Member’s individual net recovery, and to the extent the claim described in
                   this Section arises out of the claim of that Participating Class Member,
                   each Participating Class Member shall defend, indemnify, and hold
                   harmless each of the Knauf Defendants from and against (a) any and all
                   claims by, on behalf of, through, or deriving from his, her, or its heirs,
                   executors, representatives, attorneys or former attorneys, successors,
                   employers, insurers, employers’ insurers, health insurers, health care
                   providers, assignees, subrogees, predecessors in interest, successors in
                   interest, beneficiaries or survivors; and (b) any claims for contribution;
                   indemnity, common law or contractual; and/or subrogation, whether
                   arising under tort, contract or otherwise, related in any way to the
                   Released Claims of said Participating Class Member released by this
                   Settlement.

            5.2.6. It is expressly understood and agreed that the indemnity, defense, and
                   judgment reduction obligations detailed above shall exist regardless of the
                   legal basis for the claim, demand, cause of action, right of action, liability,
                   lien, or judgment demand asserted by any person or entity to the extent
                   related to the Released Claims against any Released Party and/or Knauf
                   Defendant. In particular, the Participating Class Members expressly bind
                   themselves to the foregoing indemnity, defense and judgment reduction
                   obligations regardless of whether the claim, demand, suit, liability, lien,
                   judgment, cause of action, or right of action is based on or related to (a)
                   the negligence of any of the Knauf Defendants, sole or concurrent; (b) the
                   strict liability of any of the Knauf Defendants under any theory
                   whatsoever; (c) the absolute liability of any of the Knauf Defendants; (d)
                   the wanton, reckless, or willful misconduct of any of the Knauf
                   Defendants; (e) any actual, alleged or purported right, asserted by any
                   Knauf Defendant or any Participating Class Member under a policy of
                   insurance issued by one or more insurers; or (f) any other basis
                   whatsoever.

6.   Certification of Federal Rule of Civil Procedure 23(b)(3) Settlement Class and
     Related Motions

     6.1.   This Settlement shall be subject to approval of the Court.

     6.2.   Within ten (10) days of the Execution Date, the Parties will move jointly for an
            order:




                                             58
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 62 of 83




            6.2.1. Preliminarily certifying the Settlement Subclasses and approving the
                   Settlement (the “Preliminary Approval Order”); and

            6.2.2. Staying all claims in the Litigation as to all Knauf Defendants.

     6.3.   The Knauf Defendants shall have the right to withdraw from the Settlement if the
            Court does not issue any of the requested orders (including the Order and
            Judgment) or if the Settlement Class is not certified.

     6.4.   The Parties will stipulate to the Court in the request for entry of the Preliminary
            Approval Order and at the Certification Hearing that (i) the Class is being
            certified for settlement purposes only pursuant to the Settlement, (ii) the Knauf
            Defendants reserve the right to object to class certification de novo in the event
            this Settlement is terminated for any reason, including termination pursuant to
            Section 13, and (iii) this Settlement shall have no precedential effect with regard
            to certification of a litigation class that may arise if this matter is not fully and
            completely resolved through this settlement effort, or otherwise and may not be
            cited in any class certification proceeding contested by the Knauf Defendants in
            either federal or state court.

7.   Notice to Class Members

     7.1.   Type of Notice Required

            7.1.1. Upon entry of the Preliminary Approval Order preliminarily certifying the
                   Settlement Class as defined in Section 1.1.2, the Settlement Class Counsel
                   will disseminate the Class Settlement Notice (“Notice”) approved by the
                   Court as follows:

                   7.1.1.1.   By first-class mail to the last known address of the following
                              persons and entities: (i) all plaintiffs in the Litigation who, as
                              of December 9, 2011, asserted claims arising from, or otherwise
                              related to, KPT Chinese Drywall, (ii) all plaintiffs in the Omni
                              complaints in MDL No. 2047 who, as of Execution Date,
                              asserted claims arising from, or otherwise related to, KPT
                              Chinese Drywall, (iii) all plaintiffs in all Related Actions who,
                              as of December 9, 2011, asserted claims arising from, or
                              otherwise related to, KPT Chinese Drywall, and (iv) the counsel
                              of all the foregoing;

                   7.1.1.2.   By providing a copy of the Notice and requesting that it be
                              posted on the Court’s Chinese Drywall MDL website; and

                   7.1.1.3.   As the Court may direct.

                   7.1.1.4.   The cost of Notice shall be paid by the Knauf Defendants.




                                             59
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 63 of 83




8.   Opt-Out

     8.1.   Opt-Out Period

            8.1.1. Class Members will have seventy (70) days following the Notice (or such
                   different period as the Court may direct) to opt out of the Settlement in
                   accordance with Section 8.2. If the Settlement is finally approved by the
                   Court, all Class Members who have not opted out by the end of the
                   seventy (70) day period will be bound by the Settlement, and the relief
                   provided by the Settlement will be their sole and exclusive remedy for the
                   claims alleged by the Class. To assure that each Class Member has
                   adequate time for consideration of the Settlement, no opt out will be
                   effective if filed earlier than 21 days after the issuance of the Notice under
                   Section 7. The Knauf Defendants and Settlement Class Counsel will
                   certify to the Court the date that Notice issues.

     8.2.   Opt-Out Process

            8.2.1. Individual Class Members must request to opt out and must sign any
                   requisite pleading or form. A pleading or form or any other request made
                   or signed by counsel shall not be sufficient. An original opt-out form
                   signed by the Class Member must be mailed to Settlement Class Counsel,
                   Arnold Levin (Levin, Fishbein, Sedran & Berman, 510 Walnut Street,
                   Suite 500, Philadelphia, PA 19106) and Russ M. Herman (Herman,
                   Herman, Katz & Cotlar, LLP, 820 O’Keefe Avenue, New Orleans,
                   Louisiana 70113), and to the Knauf Defendants’ counsel, Kerry Miller
                   (Frilot L.L.C., 1100 Poydras Street, Suite 3700, New Orleans, LA 70163).
                   The opt out request must be postmarked within the 70-day period
                   described in Section 8.1.1. Settlement Class Counsel shall be obliged to
                   file all opt outs with the Court by a date prior to the Fairness Hearing to be
                   determined by the Court.

            8.2.2. The Parties shall seek an order of the Court compelling mediation of opt-
                   out claims.

     8.3.   Rights With Respect to Opt Outs

            8.3.1. The Parties agree and acknowledge that any opt-out may be detrimental,
                   so that each of them will have a right to terminate the Settlement on
                   account of the existence of any opt out.

            8.3.2. If any Class Members remain as opt outs fourteen (14) days prior to the
                   Fairness Hearing, then each of the Knauf Defendants individually has the
                   right, acting at its sole and exclusive discretion and option, to terminate
                   the Settlement in its entirety or as to all Participating Class Members who
                   are members of or were eligible to participate in the Banner Class
                   Settlement (if any opt out was supplied by Banner), the InEx Class
                   Settlement (if any opt out was supplied by InEx), and/or the L&W Class


                                             60
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 64 of 83




                   Settlement (if any opt out was supplied by L&W). This right to terminate
                   the Settlement must be exercised by written notice to the Court seven (7)
                   days before the Fairness Hearing. If timely exercised, the Knauf
                   Defendants’ exercise of their rights under this Section shall not be
                   reviewable by the Court.

9.   Objections

     9.1.   Any Class Member who has any objection to certification of the Class, or to
            approval of this Settlement or any terms hereof, or to the approval process must
            make that objection by the following procedure:

            9.1.1. The objection must be in writing;

            9.1.2. The objection must set forth all objections and the reasons therefore, and a
                   statement whether the Class Member intends to appear at the Certification
                   Hearing or Fairness Hearing either with or without the objector’s counsel.
                   The objection must identify any witnesses intended to be called, the
                   subject area of the witnesses’ testimony, and all documents to be used or
                   offered into evidence, at the Certification Hearing or Fairness Hearing;

            9.1.3. The objection must be signed by the individual Class Member and by
                   his/her/its counsel; an objection signed by counsel alone shall not be
                   sufficient;

            9.1.4. The objection must contain the caption of the Litigation and include the
                   name, mailing address, e-mail address, if any (an e-mail address is not
                   required), and telephone number of the objecting Class Member;

            9.1.5. The objection must be mailed to Plaintiffs’ Lead Counsel, Arnold Levin
                   (Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500,
                   Philadelphia, PA 19106), and to the Knauf Defendants’ counsel, Kerry
                   Miller (Frilot L.L.C., 1100 Poydras Street, Suite 3700, New Orleans, LA
                   70163). The objection must be postmarked by the date prescribed by the
                   Court. Plaintiffs’ Lead Counsel shall be obliged to file all objections with
                   the Court by a date prior to the Certification Hearing and the Fairness
                   Hearing to be determined by the Court.

     9.2.   Failure to comply timely and fully with these procedures shall result in the
            invalidity and dismissal of any objection. No Class Member shall be entitled to
            be heard at the Certification Hearing or Fairness Hearing (whether individually or
            through the objector’s counsel), or to object to certification of the Class or to the
            Settlement, and no written objections or briefs submitted by any Class Member
            shall be received or considered by the Court at the Certification Hearing or
            Fairness Hearing, unless written notice of the Class Member’s objection and any
            brief in support of the objection have been filed with the Court and served upon
            Plaintiffs’ Lead Counsel and the Knauf Defendants’ counsel not later than twenty



                                             61
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 65 of 83




             (20) days before the date of the Certification Hearing or the Fairness Hearing as
             appropriate, in accordance with Section 9.1.

      9.3.   Class Members who fail to file and serve timely written objections in accordance
             with Section 9.1 shall be deemed to have waived any objections and shall be
             foreclosed from making any objection (whether by appeal or otherwise) to the
             certification of the Settlement Class or to the Settlement.

10.   Fairness Hearing

      10.1. Within ten (10) days of the entry of the Preliminary Approval Order, Settlement
            Class Counsel shall request that the Court hold a Fairness Hearing. The Fairness
            Hearing shall not be held until after the Opt Out Period has concluded.

      10.2. At the Fairness Hearing the Court shall, inter alia, (i) consider any properly filed
            objections to the Settlement, (ii) determine de novo whether the Settlement is fair,
            reasonable, and adequate, was entered into in good faith and without collusion,
            and should be approved, and shall provide findings in connection therewith, and
            (iii) enter the Order and Judgment, including final approval of the Settlement
            Class and the Settlement.

11.   Dismissals

      11.1. Within thirty (30) days of the occurrence of the Effective Date:

             11.1.1. The Parties shall jointly submit to the Court a proposed order or orders
                     dismissing with prejudice as to the Knauf Defendants and the Other
                     Releasees (i) all claims of Participating Class Members in Omni
                     Complaints filed in MDL No. 2047 but only to the extent that they assert
                     claims against the Knauf Defendants and the Other Releasees, and (ii) all
                     claims of Participating Class Members in Related Actions pending in the
                     Eastern District of Louisiana and/or MDL No. 2047 but only to the extent
                     that they assert claims against the Knauf Defendants and the Other
                     Releasees;

             11.1.2. The members of the PSC shall file motions to dismiss with prejudice all
                     Related Actions against the Knauf Defendants and the Other Releasees by
                     Participating Class Members whom they represent which are pending in
                     any state court and/or in any federal court outside the Eastern District of
                     Louisiana or MDL 2047 but only to the extent that they assert claims
                     against the Knauf Defendants or Other Releasees;

             11.1.3. The PSC shall use its best efforts to assist the Knauf Defendants in
                     obtaining dismissal with prejudice of any other Related Actions
                     maintained by any Participating Class Member whether in state court,
                     federal court or any arbitral forum.




                                             62
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 66 of 83




      11.2. The dismissal orders, motions or stipulation to implement Section 11.1. shall seek
            or provide for a dismissal with prejudice, with each Participating Class Member
            and Knauf Defendant bearing its own attorneys’ fees and costs, and waiving any
            rights of appeal.

12.   Bar Order

      12.1. As part of the Order and Judgment, the Court shall issue a bar order and
            permanent injunction against any and all pending or future claims by Participating
            Class Members against the Knauf Defendants and Other Releasees arising from,
            or otherwise relating to KPT Chinese Drywall.

      12.2. The bar order and permanent injunction shall:

             12.2.1. Enjoin and forever bar any and all Participating Class Members from
                     commencing and/or maintaining any action, legal or otherwise, against the
                     Knauf Defendants and Other Releasees arising out of, or otherwise
                     relating to, KPT Chinese Drywall;

             12.2.2. Bar the assertion by any entity or person against the Knauf Defendants and
                     Other Releasees of any contribution, indemnification, subrogation, or
                     other claims arising out of the Participating Class Members’ claims
                     concerning (i) the KPT Chinese Drywall claims against the Knauf
                     Defendants or (ii) this Settlement.

      12.3. This provision is not intended to prevent or impede the enforcement of claims or
            entitlement to benefits under this Settlement.

13.   Termination of This Settlement

      13.1. This Settlement shall be terminated and cancelled upon any of the following
            events:

             13.1.1. The Court declines to enter the Preliminary Approval Order;

             13.1.2. The Fairness Hearing is not held by the Court;

             13.1.3. The Order and Judgment approving the Settlement and certifying the Class
                     is not entered by the Court, or is reversed by a higher court, or is
                     inconsistent with the terms of the Settlement; or

             13.1.4. The Court declines to dismiss the claims of Participating Class Members
                     against the Knauf Defendants and Other Releasees with prejudice.

      13.2. In addition to any other right to terminate under this Settlement, the Knauf
            Defendants may, at their sole and exclusive discretion and option, withdraw from,
            terminate, and cancel their obligations under this Settlement upon any of the
            following events:


                                             63
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 67 of 83




             13.2.1. The Knauf Defendants exercise their rights pursuant to Sections 4.8.5 or
                     4.8.6.

             13.2.2. The Class Settlement Notice does not comply with Section 7.1 or with the
                     order of the Court concerning Notice;

             13.2.3. The Knauf Defendants exercise their rights regarding opt outs pursuant to
                     Section 8.3;

             13.2.4. The dismissals as provided in Sections 11.1.1, 11.1.2, and 11.2 do not
                     occur as provided in Section 11;

             13.2.5. The bar order and permanent injunction as provided in Section 12.2 are
                     not entered by the Court as provided in Section 12;

             13.2.6. The PSC, acting on behalf of the Class, materially breaches the Settlement
                     and such breach materially frustrates the purposes of this Agreement; or

             13.2.7. This Settlement is changed in any material respect, except by written
                     consent of the Parties.

      13.3. If the Knauf Defendants materially breach the Settlement Agreement, and such
            breach materially frustrates the purpose of this Agreement, then the Settlement
            Class Counsel shall, at their sole discretion, pursue whatever other remedies are
            available to them.

14.   Attorneys’ Fees

      14.1. Separately and in addition to any consideration received by a Participating Class
            Member under this Settlement, the Knauf Defendants shall pay a singular
            attorneys’ fee (to be allocated among the PSC and common benefit counsel
            authorized and working at the direction of the PSC, other common benefit
            counsel, Settlement Class Counsel and individual retained counsel) and
            reasonable and appropriate costs, including but not limited to Held Costs, Shared
            Costs and Individual Participating Class Members’ Costs limited to reasonable
            inspection costs.

      14.2. The PSC shall be entitled to petition the Court for an award of attorneys’ fees and
            costs, and provided that the PSC does not seek an award of attorneys’ fees and
            costs exceeding $160 million from the Knauf Defendants, the Knauf Defendants
            agree not to oppose any such request. All attorneys’ fees and costs as well as the
            allocation of attorneys’ fees and costs among the PSC, common benefit counsel
            authorized and working at the direction of the PSC, other common benefit
            counsel, Settlement Class Counsel and individual retained counsel are subject to
            the approval of the Court and to a determination by the Court that the common
            benefit counsel work was valid and bona fide. The Court’s determination shall be
            final and not subject to appeal.



                                             64
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 68 of 83




           14.2.1. In connection with the Court’s determination of the PSC’s application for
                   attorneys’ fees and costs, the PSC shall request without objection from the
                   Knauf Defendants that the Court consult with state court Judges who have
                   presided over Related Actions filed in state court as the Court deems
                   appropriate. The PSC shall also request without objection from the Knauf
                   Defendants that the Court determine a procedure for the appropriate
                   allocation of attorneys’ fees and costs among the PSC, common benefit
                   counsel authorized and working at the direction of the PSC, other common
                   benefit counsel, Settlement Class Counsel and individual retained counsel.
                   In the event the Court appoints the Special Master to assist in the
                   determination of a procedure for the appropriate allocation of attorneys’
                   fees and costs, then each fee applicant may select either Special Master
                   Perry or Special Master Juneau to review their fee application.

    14.3. The Court’s award of attorneys’ fees and costs shall settle and finally resolve any
          claim for attorneys’ fees or costs that can be claimed by any counsel representing
          or working for the benefit either of a Participating Class Member or the Class.
          The award for attorneys’ fees and costs shall include, but not be limited to: (i) all
          preparation and litigation work on behalf of any Participating Class Member or
          the Class; (ii) this Settlement; (iii) the Pilot Program; (iv) the Major Builder
          Settlement Agreements; (v) any agreement governing homes remediated prior to
          the Execution Date; and (vi) any other previous settlement between Knauf and
          any other party relating to claims arising from KPT Chinese Drywall unless
          attorneys’ fees and reasonable costs have already been separately addressed under
          such settlement. Upon final approval, this agreement concerning attorneys’ fees
          and costs shall supersede and replace the attorneys’ fees and costs arrangements
          in the Pilot Program and the Major Builder Settlement Agreements.

    14.4. In no event will the Knauf Defendants’ liability for attorneys’ fees and costs
          exceed $160 million. The Knauf Defendants shall have no further obligation for
          attorneys’ fees and costs to any counsel representing or working on behalf of
          either a Participating Class Member or the Class.

    14.5. In addition to an award of attorneys’ fees and costs under this Settlement, the
          Knauf Defendants agree that the PSC, common benefit counsel authorized and
          working at the direction of the PSC, other common benefit counsel, Settlement
          Class Counsel and individual retained counsel are entitled to seek an award of
          attorneys’ fees and costs from the Banner Class Settlement, the InEx Class
          Settlement, the L&W Class Settlement and the Insurer Class Settlement. The
          Knauf Defendants shall take no position on the amount of attorneys’ fees and
          costs to which any party or their counsel might be entitled under any of those
          Agreements. The Knauf Defendants will not be entitled to any credit for
          attorneys’ fees and costs owed under those Settlements, nor will the Knauf
          Defendants be responsible for any shortfalls in attorneys’ fees and costs recovered
          under those Settlements.




                                            65
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 69 of 83




      14.6. In addition to fees sought under Section 14.2, if there is a surplus in the Other
            Loss Fund, Settlement Class Counsel and/or the PSC may petition for attorneys’
            fees and costs from the surplus pursuant to Section 4.7.4.4, provided, however
            that the Knauf Defendants will not be responsible for any such attorneys’ fees and
            costs.

      14.7. The PSC shall establish an “MDL 2047 PSC Shared Costs Fund” in an
            appropriate financial institution approved by the Court. Fourteen (14) days after
            the Execution Date, the Knauf Defendants will make an advance payment of $6
            million (non-refundable) to the Shared Costs Fund for costs incurred by the PSC,
            common benefit counsel, other common benefit counsel, Settlement Class
            Counsel and individual retained counsel. After the Settlement becomes Final, the
            amount advanced shall be credited against any amount of attorneys’ fees and costs
            awarded by the Court. If the Settlement does not become Final, the amount
            advanced by the Knauf Defendants shall be credited against any award of
            attorneys’ fees and costs associated with the Pilot Program.

      14.8. Pursuant to the direction of the Court, the Knauf Defendants will pay any
            attorneys’ fees and costs awarded by the Court beyond the advance payment of $6
            million within 30 days after the Court issues an order determining the amount of
            attorneys’ fees and costs.

15.   Court to Retain Jurisdiction to Implement and Enforce Settlement Agreement

      15.1. Notwithstanding any other provision of this Settlement, the Court shall retain (a)
            continuing jurisdiction over the Litigation, the Class, the Participating Class
            Members, the Knauf Defendants and the Settlement for the purposes of
            administering, supervising, construing and enforcing the Settlement; and (b)
            continuing and exclusive jurisdiction over (i) the Settlement Funds and (ii) the
            distribution of same to Participating Class Members. Each of the Knauf
            Defendants consent to the jurisdiction of the Court solely for the purposes of
            administering, supervising, construing and enforcing the Settlement (including the
            Security Agreement) and for no other purpose. All other jurisdictional defenses
            arguments and rights are fully reserved by the Knauf Defendants and nothing in
            this Settlement is intended to prejudice the assertion in any forum against any
            party of those jurisdictional defenses, arguments and rights.

16.   Representations

      16.1. The PSC represents and agrees that the Settlement is a fair, equitable and just
            process for determining eligibility for, and amount of, compensation for any given
            Class Member who has asserted a claim arising from, or related to, KPT Chinese
            Drywall.

      16.2. The PSC and counsel for the Knauf Defendants represent that, based on their
            respective independent consultations with qualified ethics experts or whomever
            else they deemed necessary, as to their respective ethical obligations and



                                             66
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 70 of 83




           responsibilities, this Section 16 is consistent with the rules of professional
           responsibility and requirements of the respective jurisdictions in which they
           practice law, as described below.

    16.3. The following representations apply to claims against the Knauf Defendants and
          Other Releasees arising from, or related to, KPT Chinese Drywall. Nothing in
          this Section shall apply to claims against Excluded Releasees or claims arising
          from, or related to, Non-KPT Chinese Drywall.

           16.3.1. Each member of the PSC represents that, while nothing in this Settlement
                   is intended to operate as a “restriction” on the right of the PSC members to
                   practice law within the meaning of the equivalent to Rule 5.6(b) of the
                   ABA Model Rules of Professional Conduct in any jurisdictions in which
                   the PSC Members practice or whose rules may otherwise apply, the PSC
                   members have no present intent to (i) solicit new clients for the purpose of
                   bringing claims against the Knauf Defendants or any of their related
                   corporate affiliates, or any other entity or individual in connection with
                   KPT Chinese Drywall, or (ii) acquire or receive a financial interest in any
                   such claims or (iii) provide support or assistance to any other attorney in
                   connection with a claim arising from KPT Chinese Drywall, except by
                   providing access to materials contained in the PSC depository and a trial
                   package developed by the PSC which shall include depositions and legal
                   analysis of key issues. Subject to the foregoing, the PSC further
                   represents that, upon funding of the Settlement, because they have no
                   present intent to represent clients with claims arising from, or related to,
                   KPT Chinese Drywall in any cases or claims, it is their present intent not
                   to provide assistance of any kind to any plaintiff’s counsel who represents
                   clients with claims arising from, or related to, KPT Chinese Drywall in
                   any cases or claims or to participate in any way in the prosecution of such
                   cases or claims. However, notwithstanding the foregoing, the PSC will
                   comply with PTO 8 entered in MDL No. 2047 concerning, among other
                   things, the administration of the MDL and maintenance and transmittal of
                   court orders and other documents or information to plaintiff’s counsel.

           16.3.2. Each member of the PSC represents that he or she has no present intention
                   to solicit new clients with claims arising from KPT Chinese Drywall.

           16.3.3. Each member of the PSC and the Knauf Defendants agree that the
                   amounts to be paid under this Settlement to each Participating Class
                   Member represent the satisfaction of that Participating Class Member’s
                   claims for compensatory damages. No portion of such settlement
                   represents the payment of punitive or exemplary damages. Nonetheless,
                   in consideration for the satisfaction of each Participating Class Member’s
                   claim for compensatory damages, claims for punitive or exemplary
                   damages shall be released as provided in Section 5.1.2.1.




                                            67
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 71 of 83




          16.3.4. Each member of the PSC represents and agrees that he or she has carefully
                  reviewed the provisions of this Agreement, has consulted with whomever
                  he or she deemed necessary, and has exercised independent judgment in
                  concluding that the Settlement is in the best interests of his or her clients,
                  and shall recommend the Settlement to his or her clients.

                 16.3.4.1. If any Class Member represented by a PSC member for any
                           reason opts out of the Class, the PSC member who represents
                           that Class Member shall present to the Court the issue of
                           whether there is a conflict of interest which requires the PSC
                           member to take (or have taken, as the case may be) all
                           necessary steps to disengage and withdraw from the
                           representation of such Class Member. The Court’s decision on
                           such matters shall be final and non-appealable.

          16.3.5. Except as such agreement may be forbidden by the equivalent of Rule
                  1.16(d) or Rule 5.6(b) of the ABA Model Rules of Professional Conduct
                  in the jurisdictions in which the PSC members practice law or whose rules
                  otherwise apply, each member of the PSC represents and agrees that he or
                  she will not share or make available to any other counsel’s non-
                  Participating Class Member, potential plaintiff with claims arising from,
                  or related to, KPT Chinese Drywall or such other counsel for such Class
                  Member or potential plaintiff: (i) any materials or information developed
                  in the Litigation relating to KPT Chinese Drywall, including but not
                  limited to, correspondence, notes, analyses, interview memoranda, exhibit
                  and witness lists, demonstrative exhibits, witness examination outlines,
                  expert reports and exhibits, and results of jury research (“Materials and
                  Information”), other than materials contained in the PSC depository and a
                  trial package developed by the PSC which shall include depositions and
                  legal analysis of key issues; or (ii) experts, if any, with whom the PSC
                  member has entered into exclusive retention agreements other than for the
                  purpose of prosecuting claims arising from, or related to, Non-KPT
                  Chinese Drywall.

          16.3.6. Except as such agreement may be forbidden by the equivalent of Rule
                  1.16(d) or Rule 5.6(B) of the ABA Model Rules of Professional Conduct
                  in the jurisdictions in which the PSC members practice law or whose rules
                  might otherwise apply, each member of the PSC represents and agrees
                  that, within 60 days after the conclusion of the Litigation, he or she will
                  return to the Knauf Defendants, or certify destruction of, all materials
                  produced by the Knauf Defendants in discovery, including confidential
                  information as defined in PTO 16 entered in MDL No. 2047 or any other
                  applicable confidentiality order(s), whether in their possession or in the
                  possession of their clients, experts, consultants or other persons within
                  their control, and shall provide a declaration to the Knauf Defendants that
                  such return or destruction has occurred. Such declaration shall be
                  substantially in the form of Exhibit I. If necessary, the PSC and the Knauf


                                           68
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 72 of 83




                    Defendants shall jointly move to amend any applicable confidentiality
                    order(s) to provide for such return or destruction of confidential
                    information.

             16.3.7. Each member of the PSC represents and agrees that he or she will not
                     hereafter use or reveal information, including but not limited to
                     information relating to the representation of, or gained in the professional
                     relationship with a Participating Class Member, or privileged information,
                     including without limitation the Materials and Information, where use or
                     revelation is prohibited by the rules of professional conduct, the code of
                     professional responsibility, or equivalent authority, or by any other law,
                     governing the conduct of lawyers, in the jurisdictions in which the PSC
                     member practices law or whose rules might otherwise apply (including but
                     not limited to the equivalent of Rules 1.6(a), 1.8(b) and 1.9(c)(2) of the
                     ABA Model Rules of Professional Conduct in any such jurisdiction).
                     Each member of the PSC represents that no Participating Class Member
                     has consented to the use or revelation of such information, except to the
                     extent required for the PSC to comply with the requirements of the
                     equivalent to Rule 1.8(g) of the ABA Model Rules of Professional
                     Conduct in the jurisdictions in which the members of the PSC practice law
                     or whose rules might otherwise apply.

      16.4. Settlement Class Counsel represents that they have obtained the requisite
            authority from all members of the PSC to enter this Agreement in a manner that
            binds each PSC member to its terms.

      16.5. The Knauf Defendants represent that they have obtained the requisite authority to
            enter this Agreement in a manner that binds each of them to its terms.

17.   Security

      17.1. In furtherance of their payment obligations under this Agreement, the Knauf
            Defendants agree as follows:

             17.1.1. Knauf Gips guarantees performance of all obligations by the Knauf
                     Defendants under this Settlement.

             17.1.2. To secure the obligations of the Knauf Defendants to make payments
                     under this Agreement, KI shall grant to Settlement Class Counsel, as
                     collateral agent for the Settlement Class, a first-priority lien and security
                     interest in the Pledged Assets and Mortgaged Property, in each case
                     subject to agreed-upon permitted liens under the terms and conditions set
                     forth in the Security Agreement and the Mortgages. The Security
                     Agreement and the Mortgages shall be executed and delivered as of the
                     Effective Date.

             17.1.3. The Knauf Defendants shall also either deposit funds in an account located
                     in the United States or acquire asset(s) located in the United States and


                                              69
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 73 of 83




                 having an aggregate value of not less than $50 million in excess of the
                 amount of any indebtedness secured by security interests in such funds
                 and asset(s), and shall maintain ownership of such funds and asset(s) (or
                 any assets acquired in replacement thereof or in addition thereto) and
                 preserve unencumbered value (without regard to depreciation) of at least
                 $50 million therein until the Knauf Defendants’ payment obligations
                 under this Agreement have been satisfied in full (the “Knauf Investment
                 Assets”). The Knauf Defendants will provide notice to Settlement Class
                 Counsel of the type and location of the Knauf Investment Assets.

          17.1.4. The Knauf Defendants may elect to terminate Settlement Class Counsel’s
                  security interest in one or more of the Pledged Assets or Mortgaged
                  Property or elect as an initial matter to provide an alternative to the
                  Pledged Assets or Mortgaged Property by providing Replacement Security
                  in any of the following three manners.

                 17.1.4.1. The Knauf Defendants may terminate Settlement Class
                           Counsel’s security interest in one or more of the Pledged Assets
                           or Mortgaged Property or elect as an initial matter to provide an
                           alternative to the Pledged Assets or Mortgaged Property by
                           delivering a guarantee of the Knauf Defendants’ obligations to
                           make payments under this Agreement, in a principal amount not
                           less than the value of such Pledged Assets or Mortgaged
                           Property (based on the value maintained on the books and
                           records of KI in accordance with generally accepted accounting
                           principles), in favor of Settlement Class Counsel, for the
                           benefit of the Settlement Class, issued by a commercial bank (i)
                           that is chartered under the laws of the United States, any State
                           thereof or the District of Columbia, and which is insured by the
                           Federal Deposit Insurance Corporation, or (ii) whose long-term,
                           unsecured and unsubordinated debt obligations are rated at least
                           single A by Standard & Poor’s Ratings Services (S&P) or an
                           equivalent rating by Fitch Ratings Ltd. (Fitch), Moody’s
                           Investors Service, Inc. (Moody’s) or DBRS and their respective
                           successors, and which guarantee is maintained in effect until the
                           Knauf Defendants’ obligations to make payments under the
                           Settlement Agreement are fully satisfied.

                 17.1.4.2. The Knauf Defendants may terminate the security interest in
                           one or more of the Pledged Assets or Mortgaged Property or
                           elect as an initial matter to provide an alternative to the Pledged
                           Assets or Mortgaged Property by delivering an irrevocable
                           standby letter of credit, in a face amount not less than the value
                           of such Pledged Assets or Mortgaged Property (based on the
                           value maintained on the books and records of KI in accordance
                           with generally accepted accounting principles), payable to
                           Settlement Class Counsel, as collateral agent for the Settlement


                                          70
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 74 of 83




                            Class, issued by a commercial bank (i) that is chartered under
                            the laws of the United States, any State thereof or the District of
                            Columbia, and which is insured by the Federal Deposit
                            Insurance Corporation, or (ii) whose long-term, unsecured and
                            unsubordinated debt obligations are rated at least single A by
                            Standard & Poor’s Ratings Services (S&P) or an equivalent
                            rating by Fitch Ratings Ltd. (Fitch), Moody’s Investors Service,
                            Inc. (Moody’s) or DBRS and their respective successors, and
                            which letter of credit is maintained in effect until the Knauf
                            Defendants’ payment obligations under this Agreement have
                            been satisfied in full.

                 17.1.4.3. The Knauf Defendants may terminate the security interest in
                           one or more of the Pledged Assets or Mortgaged Property or
                           elect as an initial matter to provide an alternative to the Pledged
                           Assets or Mortgaged Property by pledging to Settlement Class
                           Counsel, as collateral agent for the Settlement Class, such other
                           collateral assets of one or more of the Knauf Defendants located
                           in the United States, having a fair market value, as agreed to by
                           the Parties or, in the absence of agreement by the Parties, as
                           determined by the Court, not less than the value of such Pledged
                           Assets or Mortgaged Property (based on the value maintained
                           on the books and records of KI in accordance with generally
                           accepted accounting principles).

          17.1.5. Following the Knauf Defendants’ replenishment of the Remediation Fund
                  in accordance with Section 4.2.2, the Knauf Defendants may (a) terminate
                  the liens and security interests granted to Settlement Class Counsel, as
                  collateral agent for the Settlement Class, in one or more of the Pledged
                  Assets, the Mortgaged Property and/or Replacement Security (in the case
                  of substitute collateral as described in Section 17.1.3.3), (b) reduce the
                  amount of Replacement Security (in the case of a guarantee as described
                  in Section 17.1.3.1 or a letter of credit as described in Section 17.1.3.2)
                  and/or (c) reduce the amount or unencumbered value of the Knauf
                  Investment Assets, together in an aggregate amount (in the case of the
                  Pledged Assets, the Mortgaged Property and the Replacement Security
                  (constituting substitute collateral as described in Section 17.1.3.3), based
                  on the value maintained on the books and records of KI in accordance
                  with generally accepted accounting principles) reasonably equivalent to
                  the amount by which the Remediation Fund has been replenished at such
                  time, and Settlement Class Counsel, as collateral agent for the Settlement
                  Class, shall execute, deliver, record and file such documents, instruments
                  and agreements as are necessary, convenient or reasonably requested by
                  the Knauf Defendants to evidence the termination of such liens and
                  security interests.




                                           71
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 75 of 83




          17.1.6. Settlement Class Counsel, as collateral agent for the Settlement Class, may
                  only exercise remedies against the Pledged Assets, the Mortgaged
                  Property, the Knauf Investment Assets and the Replacement Security in
                  the event of default by the Knauf Defendants of their obligations to make
                  payments under this Agreement or event of default under the Security
                  Agreement or Mortgages, in each case subject to all applicable grace
                  periods, and in each case subject to the entry of an order of the Court
                  authorizing such exercise. Before exercising any remedies, Settlement
                  Class Counsel, as collateral agent for the Settlement Class, shall serve a
                  notice of default on the Knauf Defendants and the Knauf Defendants shall
                  have thirty (30) days to remedy such default including, if applicable, by
                  providing Replacement Security as set forth in Section 17.1.3. If the
                  Knauf Defendants do not remedy the default within such thirty day period,
                  Settlement Class Counsel, as collateral agent for the Settlement Class, may
                  seek an order from the Court permitting them to exercise remedies against
                  the Pledged Assets, Mortgaged Property, the Knauf Investment Assets
                  and/or the Replacement Security (including to execute or foreclose
                  thereon) as provided in the Security Agreement and Mortgages.
                  Settlement Class Counsel, as collateral agent for the Settlement Class, may
                  only exercise remedies against the Pledged Assets, the Mortgaged
                  Property, the Knauf Investment Assets or the Replacement Security in the
                  manner authorized by Court order and subject to compliance with such
                  Court order. In no event shall any member of the Settlement Class be
                  permitted to exercise remedies against the Pledged Assets, the Mortgaged
                  Property, the Knauf Investment Assets or the Replacement Security.

          17.1.7. The Knauf Defendants will timely provide Settlement Class Counsel with
                  all reasonable due diligence materials so that Settlement Class Counsel
                  can assess the adequacy of the security. In the event of any dispute
                  regarding the adequacy of the due diligence provided, the Parties will meet
                  and confer in a good faith attempt to resolve the dispute. If the Parties are
                  unable to resolve the dispute, the Parties will submit the dispute to the
                  Court for resolution.

          17.1.8. The liens and security interests granted to Settlement Class Counsel, as
                  collateral agent for the Settlement Class, in the Pledged Assets and the
                  Mortgaged Property and their interests in any Replacement Security shall
                  be terminated in all respects after the Knauf Defendants’ payment
                  obligations under this Agreement have been satisfied in full. Upon such
                  termination, Settlement Class Counsel, as collateral agent for the
                  Settlement Class, shall execute, deliver, record and file such documents,
                  instruments and agreements as are necessary, convenient or reasonably
                  requested by the Knauf Defendants to evidence the termination of all such
                  liens and security interests.




                                           72
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 76 of 83




             17.1.9. The Pledged Assets, the Mortgaged Property and the assets described in
                     Section 17.1.4 shall not be available to satisfy the claims of any non-Class
                     Member or Class Member who opts out under Section 8.

18.   Miscellaneous

      18.1. The Knauf Defendants do not admit or concede that they have any liability for, or
            owe any damages whatsoever relating to, KPT Chinese Drywall.

      18.2. The Knauf Defendants represent that KI is a corporate entity which is doing
            business in the United States with its U.S. corporate offices in Shelbyville,
            Indiana. The Knauf Defendants further represent that KI owns substantially all of
            the Knauf Defendants’ assets in the United States.

      18.3. On the Execution Date, the PSC and the Knauf Defendants shall issue a joint
            press release.

      18.4. All persons should be on notice of their continuing duty to monitor the Court’s
            docket for the most current filings and information. The Court, in its discretion,
            may alter, postpone or amend any of the deadlines scheduled by the Court in
            connection with the certification of the class and the approval of this Agreement
            without additional formal notice. Orders of any such changes are expected to be
            presented             on              the             Court’s             website:
            http://www.laed.uscourts.gov/Drywall/Drywall.htm.

      18.5. Any Class Member (or his or her attorney) who submits false or intentionally
            misleading information, through any form of deception, dishonesty or fraud shall
            be subject to appropriate sanctions (including monetary sanctions and costs).

      18.6. In order to achieve transparency, the Knauf Defendants shall provide Settlement
            Class Counsel with copies of all fee contracts with the Settlement Administrator,
            any banking institutions, invoices of the Settlement Administrator, and other
            related persons and/or entities performing settlement administration functions.

      18.7. The retention of all banking institutions are subject to approval by Settlement
            Class Counsel and the Court.

      18.8. Unless otherwise specified, any written notices and other communications under
            this Settlement shall be in writing and shall be sent to:

             For the Knauf Defendants:

             Kerry J. Miller
             Frilot LLC
             1100 Poydras Street, Suite 3700
             New Orleans, Louisiana 70163
             kmiller@frilot.com



                                               73
Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 77 of 83




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           For Settlement Class Counsel:

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           Fred S. Longer
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           alevin@lfsblaw.com
           flonger@lfsblaw.com

           Russ Herman
           Leonard A. Davis
           Herman, Herman, Katz & Cotlar, LLP
           820 O’Keefe Avenue
           Suite 100
           New Orleans, Louisiana 70113
           rherman@hhkc.com
           ldavis@hhkc.com

           Routine communications may be by email. Communications asserting a breach of
           the Settlement shall be by hand delivery or overnight courier (e.g., Express Mail,
           Overnight UPS or Federal Express).

    18.9. This Agreement is the product of arm’s length negotiations between the PSC and
          the Knauf Defendants. Neither the PSC nor the Knauf Defendants shall be
          deemed the drafter of this Agreement or any provision thereof. No presumption
          shall be deemed to exist in favor of or against either the PSC or the Knauf
          Defendants as a result of the preparation or negotiation of this Agreement.

    18.10. This Agreement shall be governed by, and construed and enforced in accordance
           with, the substantive laws of the State of Louisiana without regard to conflict of
           laws principles.


                                           74
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 78 of 83




      18.11. This Agreement, including its exhibits, constitutes the entire agreement between
             the Parties. The Parties have not received or relied on any agreements or
             promises other than as contained in writing in this Agreement, including its
             exhibits. Prior drafts shall not be used to construe this Agreement.

      18.12. This Agreement may not be modified or amended unless such modification or
             amendment is in writing executed by all parties.

      18.13. This Agreement may be executed in multiple counterparts, all of which taken
             together shall constitute one and the same Agreement.

19.   Federal Rule of Evidence 408

      19.1. The Parties specifically acknowledge, agree and admit that this Settlement and its
            exhibits, along with all related drafts, motions, pleadings, conversations,
            negotiations, correspondence, orders or other documents shall be considered a
            compromise within the meaning of Federal Rules of Evidence Rule 408, and any
            equivalent rule of evidence of any state, and shall not (i) constitute, be construed,
            be offered, or received into evidence as an admission of the validity of any claim
            or defense, or the truth of any fact alleged or other allegation in the Litigation, the
            Related Actions, or in any other pending or subsequently filed action, or of any
            wrongdoing, fault, violation of law, or liability of any kind on the part of any
            Party, or (ii) be used to establish a waiver of any defense or right, or to establish
            or contest jurisdiction or venue.

      19.2. The Parties also agree that this Settlement and its exhibits, along with all related
            drafts, motions, pleadings, conversations, negotiations, correspondence, orders or
            other documents entered in furtherance of this Settlement, and any acts in the
            performance of this Settlement are not intended to be, nor shall they in fact be,
            admissible, discoverable, or relevant in any case or other proceeding against the
            Knauf Defendants (i) to establish grounds for certification of any class involving
            any Class Member, or (ii) as evidence of any obligation that any Party hereto has
            or may have to anyone.

      19.3. The provisions of this Settlement, and any orders, pleadings or other documents
            entered in furtherance of this Settlement, may be offered or received in evidence
            solely (i) to enforce the terms and provisions hereof or thereof, (ii) as may be
            specifically authorized by a court of competent jurisdiction after an adversary
            hearing upon application of a Party hereto, (iii) in order to establish payment, or
            an affirmative defense of exhaustion of insurance coverage or res judicata in a
            Related Action or a subsequent case, (iv) in connection with any motion to enjoin
            or stay any of the Related Actions, or (v) to obtain Court approval of the
            Settlement.

                       [Remainder of this page intentionally left blank.]




                                               75
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 79 of 83




       IN WITNESS HEREOF, the Parties have executed this Settlement Agreement by their
duly authorized representatives on the dates stated below.

For the Plaintiffs’ Steering Committee:

Witnesses:                                 Russ M. Herman
                                           Plaintiffs’ Liaison Counsel with the full
                                           authority and consent of the PSC

                                           By:
Print Name:
                                           Print Name:

                                           Title:

Print Name:                                Date:

Witnesses:                                 Arnold Levin
                                           Plaintiffs’ Lead Counsel with the full
                                           authority and consent of the PSC
                                           By:

Print Name:                                Print Name:

                                           Title:

                                           Date:
Print Name:




                                          76
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 80 of 83




For the Knauf Defendants:

Witnesses:                           Knauf Plasterboard (Tianjin) Co., Ltd.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf Plasterboard (Wuhu) Co., Ltd.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:




                                    77
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 81 of 83




Witnesses:                           Guangdong Knauf New Building Material
                                     Products Co., Ltd.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf Gips KG

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Gebr. Knauf Verwaltungsgesellschaft KG

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:




                                    78
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 82 of 83




Witnesses:                           Knauf International GmbH

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf Insulation GmbH

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf UK GmbH

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:




                                    79
 Case 2:09-md-02047-EEF-MBN Document 12061-5 Filed 12/20/11 Page 83 of 83




Witnesses:                           Knauf AMF GmbH & Co. KG

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf do Brasil Ltda.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           PT Knauf Gypsum Indonesia

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:




                                    80
